Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 1 of 67 PageID #: 2031




    UNITED STATES DISTRICT COURT
    FOR THE EASTERN DISTRICT OF NEW YORK
    --------------------------------------------------------------------------- X
    ANNE CHANA HENKIN, Individually and as Personal                                 Case No. 1:21-cv-5716
    Representative of the ESTATE OF JUDAH HERZEL
    HENKIN, ADERET RIVKAH HENKIN STERN,
                                                                                    PROPOSED INTERVENOR
    ELIASHIR ELIJAH HENKIN, JACOB BECHOR-
                                                                                    COMPLAINT
    SHALOM HENKIN, JOSEPH GIL HENKIN, TAAMA
    FREIDA HENKIN YAAKOVSON, MIRIAM FULD,
    Individually, as Personal Representative of the ESTATE
    OF ARI YOEL FULD, and as the Natural Guardian of
    N.S.F. (a minor), NAOMI FULD, TAMAR GILA FULD,
    ELIEZAR YAKIR FULD, HARVEY JONAS YONAH
    FULD, MARY ALICE FULD, DANIEL YAAKOV
    FULD, EYTAN FULD, and HILLEL CHAIM SHLOMO
    FULD,
                                         Plaintiffs,

                                  -against-

    QATAR CHARITY, QATAR NATIONAL BANK and
    MASRAF AL RAYAN
                                         Defendants,

                                    -and-

    MOSHE FULD; MICHAL FULD; ELI FULD; and BEN
    ZION FULD,

                                          Proposed Intervenor Plaintiffs.
    --------------------------------------------------------------------------- X



             Proposed Intervenor Plaintiffs Moshe Fuld, Michal Fuld, Eli Fuld, and Ben Zion Fuld

    are members of the same family and stand in the exact same shoes as Plaintiffs Miriam Fuld,

    Naomi Fuld, Tamar Gila Fuld, Eliezer Yakir Fuld, Harvey Jonas Yonah Fuld, Mary Alice Fuld,

    Daniel Yaakov Fuld, Eytan Fuld and Hillel Chaim Shlomo Fuld (collectively the “Fuld

    Plaintiffs”).


                                                                -1-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 2 of 67 PageID #: 2032




            Plaintiffs, by their undersigned counsel, hereby allege the following upon information

    and belief, except as to those allegations concerning Plaintiffs, which they allege based upon

    their personal knowledge.


                                             INTRODUCTION

            1.      Plaintiffs assert claims for wrongful death, personal injury and related torts

    pursuant to the Anti-Terrorism Act (“ATA”), 18 U.S.C. § 2331 et seq., against the members of a

    terrorism-financing conspiracy spearheaded by the government and Royal Family of Qatar.

            2.      The members of that conspiracy sponsored and carried out a series of heinous

    terrorist attacks in Israel, including the attacks Plaintiffs describe below.

            3.      For more than a decade, Qatar has openly financed and supported the infamous

    Palestinian terrorist organization Hamas, which the U.S. government long-ago designated as a

    Specially Designated Terrorist (“SDT”). Hamas earned that designation by repeatedly committing

    violent terrorist attacks targeting innocent victims in Israel and the Palestinian Territories.

            4.      In October 2012, Qatar publicly pledged $400 million to Hamas. That lawless act

    evoked widespread condemnation in the U.S. Congress. In addition to substantial financial

    support, Qatar has provided safe haven to Hamas’s senior leadership since at least 2012.

            5.      To accomplish its goal of spreading acts of terrorism and violence in Israel while

    evading international sanctions, Qatar co-opted several institutions that it dominates and controls

    to funnel coveted U.S. dollars (the primary currency of Middle East terrorist networks) to Hamas

    under the false guise of charitable donations.

            6.      Three of those institutions are Defendants in this case – Qatar Charity, Masraf Al

    Rayan Bank and Qatar National Bank (“QNB” and, collectively with Qatar Charity and Masraf

    Al Rayan, “Defendants”).


                                                      -2-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 3 of 67 PageID #: 2033




            7.      Qatar Charity is a Qatari organization well-known for funding terrorism

    throughout the Middle East and North Africa. It is a member of the Union of Good, a notorious

    funder of Hamas and international terrorism that the U.S. government has named as a Specially

    Designated Global Terrorist (“SDGT”). The chairman of Qatar Charity’s board is Hamad bin

    Nasser al-Thani, a member of the Qatari Royal Family.

            8.      Pursuant to their unlawful conspiracy, the Defendants and their co-conspirators

    provided material support and resources to Hamas that allowed it to carry out the attacks that killed

    or injured Plaintiffs and countless other civilians in Israel and the Palestinian Territories and

    injured an even larger number of non-combatants.

            9.      In furtherance of that conspiracy, Qatar Charity collected and funneled millions of

    dollars in donations through the U.S. financial system.

            10.     Qatar Charity solicited donations in Qatar and around the world and then

    transferred those funds to its account at Masraf Al Rayan in Doha, Qatar. Masraf Al Rayan then

    utilized its “correspondent” bank account located in New York to conduct transactions involving

    U.S. dollars (“USD”) and to transfer funds from Doha, through New York, to Qatar Charity’s

    accounts in the Palestinian Territories at either the Bank of Palestine or the Islamic Bank in

    Ramallah.

            11.     Once Qatar Charity’s branches in the Palestinian Territories secured those funds,

    the branches distributed the U.S. dollars or funds denominated in other currencies to Hamas, as

    well as to supposed charities affiliated with that terrorist organization.

            12.     Hamas then utilized those funds to finance terrorist activities in Israel and the

    Palestinian Territories, including the attacks more particularly described below.




                                                      -3-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 4 of 67 PageID #: 2034




            13.      Masraf Al Rayan is currently under investigation in the United Kingdom for,

    among other things, knowingly providing financial services to Hamas and another terrorist

    organization, Palestinian Islamic Jihad (“PIJ”), by utilizing Qatar Charity to pass funds to those

    entities.

            14.      Like Masraf Al Rayan, QNB took numerous overt acts in support of the conspiracy

    that resulted in Plaintiffs’ injuries and the death of their family members. In coordination with the

    other Defendants and their co-conspirators, QNB maintained at least six accounts for Qatar

    Charity and provided a host of banking services for the leaders of terrorist organizations. Indeed,

    Qatar Charity specifically requested that donors send funds to its accounts at QNB.

            15.      QNB maintained dozens of accounts for Hamas terrorists, including: (a) one of the

    FBI’s most wanted female terrorists, who is currently fighting extradition to the U.S. from Jordan;

    (b) a spokesperson for, and the former leader of, Hamas’s military wing in the West Bank, who

    was convicted for orchestrating murderous terrorist attacks in Israel; (c) a member of Hamas’s

    politburo, who was convicted for his role as a Hamas terror cell operative; and (d) the Chairman

    of the Union of Good, a U.S.-designated terrorist organization sanctioned for funding Hamas’s

    terrorist activities.

            16.      All those QNB accounts were used to finance the terrorist activities of Hamas in

    Israel and the Palestinian Territories.

            17.      As a result of the terrorist attacks, Plaintiffs have suffered severe physical and/or

    psychological injuries.

            18.      Accordingly, Defendants are liable to Plaintiffs under the ATA for providing

    material assistance to Hamas, engaging in a conspiracy designed to support Hamas’s terrorist

    activities, and aiding and abetting that unlawful conduct.



                                                      -4-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 5 of 67 PageID #: 2035




                                      JURISDICTION AND VENUE

            19.     Plaintiffs, all citizens of the United States, were killed or injured by acts of

    international terrorism that arose from the Defendants’ conspiracy to support Hamas.

            20.     As a result, this Court has subject matter jurisdiction over this action pursuant to

    28 U.S.C. § 1331 and 18 U.S.C. §§ 2333(a) and 2338.

            21.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) and (d).

            22.     Defendants are subject to personal jurisdiction in the United States pursuant to 18

    U.S.C. § 2334(a), CPLR § 302, and Fed. R. Civ. P. 4(k)(1)-(2) because, pursuant to a conspiracy,

    they: transacted business and committed tortious acts within the United States (and New York) by

    transferring funds through the United States (and New York) for Hamas’s benefit; and

    purposefully availed themselves of the benefits and protections offered by the New York banking

    system and New York law in the course of committing the wrongful acts Plaintiffs allege.

    Throughout the course of the conspiracy, all Defendants recognized that Hamas had a long history

    of utilizing the funding it obtained to conduct terrorist attacks that killed Americans who resided

    in, or were visiting, Israel or the Palestinian Territories.

            23.     Specifically, in furtherance of their conspiracy, Qatar Charity and Masraf Al

    Rayan, with the knowledge of their co-conspirator, QNB, knowingly accessed and utilized the

    banking system in the United States to transmit funds to Hamas and effectuated U.S. dollar-

    denominated funds transfers on behalf of Qatar Charity through the Bank of New York Mellon in

    New York.

            24.     Pursuant to their agreement with QNB, Qatar Charity and Masraf Al Rayan

    effectuated those bank transfers for the purpose of advancing the interests of Hamas and

    facilitating its ability to conduct attacks in Israel and the Palestinian Territories. Furthermore, all



                                                       -5-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 6 of 67 PageID #: 2036




    Defendants recognized that Hamas was a U.S.-designated terrorist organization at the time

    Defendants orchestrated those transfers.


                                               THE PARTIES

        A. The Fuld Family
           25.     Ari Yoel Fuld was murdered on September 16, 2018 by a terror attack that Hamas

    committed. At the time of the acts alleged, and at all other times relevant hereto, Ari Yoel Fuld

    was a citizen of the United States.

           26.     Plaintiff Moshe Fuld was, and at all times relevant hereto, the brother of Ari Fuld,

    and a citizen of the United States. Moshe Fuld has suffered severe mental anguish and extreme

    emotional pain and suffering as a result of the September 16, 2018 terror attack that claimed the

    life of Ari Yoel Fuld.

           27.     Plaintiff Michal Fuld was, and at all times relevant hereto, the niece of Ari Fuld,

    and a citizen of the United States. Michal Fuld has suffered severe mental anguish and extreme

    emotional pain and suffering as a result of the September 16, 2018 terror attack that claimed the

    life of Ari Yoel Fuld.

           28.     Plaintiff Eli Fuld was, and at all times relevant hereto, the nephew of Ari Fuld, and

    a citizen of the United States. Eli Fuld has suffered severe mental anguish and extreme emotional

    pain and suffering as a result of the September 16, 2018 terror attack that claimed the life of Ari

    Yoel Fuld.

           29.     Plaintiff Ben Zion Fuld was, and at all times relevant hereto, the nephew of Ari

    Fuld, and a citizen of the United States. Ben Zion has suffered severe mental anguish and extreme

    emotional pain and suffering as a result of the September 16, 2018 terror attack that claimed the

    life of Ari Yoel Fuld.



                                                    -6-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 7 of 67 PageID #: 2037




        B. Defendants
              1. Qatar Charity
              30.   Qatar Charity was founded in 2002 as the Qatar Charitable Society. It soon

    became a key funding source for international terrorists.

              31.   The Qatar Charitable Society renamed itself Qatar Charity after it became

    notorious under its prior name for financing international terrorism.

              32.   In March 2008, the U.S. Interagency Intelligence Committee on Terrorism

    (IICT).1 of the U.S. National Counterterrorism Center listed Qatar Charity (then known as Qatar

    Charitable Society) as a “priority III terrorism support entity (TSE)” because of its “intent and

    willingness” to support terrorist organizations that attack the U.S. and its interests.

              33.   Long before then, however, Qatar Charity had engaged in a pattern of support and

    financing of international terrorist organizations.

              34.   In testimony to the 9/11 Commission and Congress, Jamal al-Fadl, a former

    business aide to Osama bin Laden who defected to the United States in 1996, said that Bin Laden

    told him in 1993 that the Qatar Charitable Society was one of Bin Laden’s major sources of

    funding.

              35.   In 2002, in a terrorism-related criminal case in the United States District Court for

    the Northern District of Illinois, the U.S. government confirmed that the Qatar Charitable Society



          1
             The IICT was established in 1997 pursuant to the National Security Act of 1947 to “advise
   and assist the Director of Central Intelligence (DCI) in the discharge of his duties and
   responsibilities with respect to the coordination and publication of national intelligence on
   terrorism issues and … promote the effective use of Intelligence Community resources for this
   purpose.” The DCI Terrorism Warning Group was charged with preparing “coordinated
   Intelligence Community threat warnings from the DCI to alert senior policy makers of possible
   foreign terrorist attacks against US and allied personnel, facilities and interests.” See
   https://fas.org/irp/offdocs/dcid3- 22.pdf.


                                                      -7-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 8 of 67 PageID #: 2038




    financed Osama Bin Laden, who used the funds to carry out the 1998 East Africa embassy

    bombings.2

              36.   The 2003 testimony provided by Matthew Epstein and Evan Kohlmann to the U.S.

    House Committee on Financial Services Subcommittee on Oversight and Investigations (the

    “Epstein/Kohlmann Testimony”) provides additional evidence of the Qatar Charitable Society’s

    support for terrorism.

              37.   The Epstein/Kohlmann Testimony noted that the Qatar Charitable Society

    engaged in the “active financing of Al-Qaida and other designated international terror groups” and

    “served a critical role in the Arab-Afghan terrorist infrastructure by laundering money originating

    from bank accounts belonging to Bin Laden and his sympathetic patrons in the Arabian Gulf,

    providing employment and travel documents to Al-Qaida personnel worldwide, and helping ‘to

    move funds to areas where Al-Qaida was carrying out operations.’” http://archives-

    financialservices.house. gov/media/pdf/ 031103me.pdf (quoting the Arnaout Proffer).

              38.   The Epstein/Kohlmann Testimony also emphasized that, while Qatar Charitable

    Society touted its humanitarian work, its “charitable mission represented little more than an excuse

    to provide material support to terrorists.”

              39.   In addition to serving as a major financial conduit for Al-Qaida, Qatar Charity has

    financed and supported other terrorist organizations throughout the Middle East, Africa and

    elsewhere.

              40.   For example, Qatar Charity actively aided radical quasi-official terrorist militias

    associated with the National Islamic Front (NIF) in Sudan.


          2
            “Government’s Evidentiary Proffer Supporting the Admissibility of Co-Conspirator
   Statements,” United States of America v. Enaam M. Arnaout, Case #: 02 CR 892 (N.D. Ill. Jan. 31,
   2003) (the “Arnaout Proffer”).


                                                     -8-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 9 of 67 PageID #: 2039




            41.     In the 1990s, Qatar Charity supported the Eritrean Islamic Jihad Movement,

    another terrorist organization in Africa.

            42.     Outside of Africa, Qatar Charity was extremely active in terrorist activities in the

    Balkans and the turbulent republics of the Caucasus.

            43.     Qatar Charity has also acted as a financier and agency for terrorist organizations

    in Chechnya and Mali and funded Syria’s Ahfad al-Rasul Brigade.

            44.     In addition, Qatar Charity provided funding to, and partnered with, Islamic Relief

    Worldwide, which Israel banned in 2014 for funding Hamas.

            45.     In July 2008, Israel’s Defense Minister signed an order banning Qatar Charity

    (then known as the Qatar Charitable Society) and all of its branches operating in the territories

    administered by the Palestinian Authority. The same Israeli government order designated Qatar

    Charity as a member of the Union of Good, a notorious funder of Hamas terrorism.

            46.     At the time of that designation, Israel also expressly warned all world banking and

    financial institutions to “prepare accordingly and act with caution in order to avoid criminal

    actions and civil lawsuits by victims of terrorism,” including those brought in the United States.

            47.     In November 2008, the U.S. Department of the Treasury (“Treasury”) designated

    the Union of Good as an SDGT.

            48.     That designation declared that the Union of Good was “an organization created by

    Hamas leaders to transfer funds to the terrorist organization.” The Treasury designation further

    emphasized that “the primary purpose of this activity is to strengthen Hamas’s political and

    military position in the West Bank and Gaza, including by: (i) diverting charitable donations to

    support Hamas members and the families of terrorist operatives; and (ii) dispensing social welfare

    and other charitable services on behalf of Hamas.”




                                                     -9-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 10 of 67 PageID #: 2040




            49.     The Treasury designation stated that the supposed charitable services that the

    Union of Good provided in the West Bank and Gaza included making so-called “martyr”

    payments to the families of suicide bombers. The Union of Good also promoted terrorism by

    making payments directly to other perpetrators of terrorism and by making support payments to

    the families of convicted terrorists serving jail time in Israel. Those payments provide illegal

    financial incentives and rewards for committing murder, maiming and causing harm to the

    Plaintiffs and other victims of terrorism.

            50.     In that regard, the Treasury designation stated, “In addition to providing cover for

    Hamas financial transfers, some of the funds transferred by the Union of Good have compensated

    Hamas terrorists by providing payments to the families of suicide bombers.”

            51.     Treasury further found that “Union of Good acts as a broker for Hamas by

    facilitating financial transfers between a web of charitable organizations…and Hamas-controlled

    organizations in the West Bank and Gaza.”

            52.     Long before the Union of Good designation, Treasury had designated Hamas as a

    terrorist organization in October 1997.

            53.     In 2017, to avoid suspicion from international banks after a damning report by the

    UK Charity Commission noting its connections to Hamas and the Muslim Brotherhood, the UK

    branch of Qatar Charity renamed itself Nectar Trust.

            54.     Saudi Arabia, Bahrain, Egypt, and the United Arab Emirates (“UAE”) cut ties with

    Qatar on June 5, 2017, due to Qatar’s connections with, and support of, terrorist organizations.

            55.     In June 2019, Saudi Arabia, Bahrain, Egypt and the UAE designated Qatar Charity

    as a financial supporter of terrorism.




                                                    -10-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 11 of 67 PageID #: 2041




            56.     At all times relevant to this Complaint, the chairman of the Qatar Charity board

    has been Hamad bin Nasser al-Thani, a member of the Qatari royal family.

            2. Masraf Al Rayan Bank
            57.     Masraf Al Rayan, founded in January 2006, is a publicly held banking company

    headquartered in Doha, Qatar.

            58.     Masraf Al Rayan purports to engage in banking, financing and investing activities

    in conformity with the principles of Islamic Sharia Law. It is regulated by the Qatar Central Bank

    and is one of the largest Islamic banks in the world, with a market capitalization of $7.5 billion.

            59.     Masraf Al Rayan is controlled by the Qatari government and members of the

    Qatari royal family through their substantial stock ownership in the bank and membership on the

    Bank’s board of directors. Several members of the Qatari royal family (the House of Thani) are

    or have served as members of the bank’s board.

            60.     According to Masraf Al Rayan’s most recent Annual Report, the bank’s four

    largest shareholders are all agents or instrumentalities of the Qatari government: Qatar’s General

    Retirement Authority’s Pensions Fund holds 2.88% of the bank’s stock; the Qatar Investment

    Authority, a Qatari government entity responsible for developing, investing and managing the

    reserve funds of the State of Qatar and other assets assigned to it, holds 4.09%; the Qatar Armed

    Forces Investment Portfolio holds 9.31%; and the Qatar Holding Company, the main direct

    investment subsidiary of the Qatar Investment Authority, holds 11.65%.

            61.     Notwithstanding Qatar Charity’s longstanding and highly publicized support for

    Hamas and other international terrorist organizations, Masraf Al Rayan provided Qatar Charity

    with financial services throughout the time relevant to Plaintiffs’ claims. Indeed, Masraf Al Rayan

    continues to provide those services to Qatar Charity to this day.




                                                    -11-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 12 of 67 PageID #: 2042




            62.     Masraf Al Rayan owns 70 percent of Al Rayan (UK) Limited, which owns 98.34%

    of its subsidiary, Al Rayan Bank PLC. By virtue of its share ownership in Al Rayan (UK)

    Limited, Masraf Al Rayan controls that entity and its subsidiary, Al Rayan Bank PLC.

            63.     Al Rayan Bank PLC, formerly known as Islamic Bank of Britain, is a commercial

    bank in the United Kingdom. That entity was established in August 2004 to offer Sharia-

    compliant financial services to UK customers.

            64.     Al Rayan Bank PLC notified its shareholders in late 2019 that it was under

    investigation by the United Kingdom’s Financial Conduct Authority (“FCA”).

            65.     The FCA investigation arises from the financial services that Al Rayan Bank PLC

    provided to designated terrorist entities. The bank’s clients include Interpal, which Treasury

    designated as a terrorist entity in 2003 due to Interpal’s funding links to Hamas.

            66.     Al Rayan Bank PLC also provides services to the Nectar Trust, the U.K. branch

    of Qatar Charity. Nectar Trust, previously known as Qatar Charity UK, has received more than

     £37 million (roughly $50.5 million as of the date of this pleading) from Qatar Charity.

            67.     Nectar Trust is partners with the Emaan Trust, a group whose leaders have close

    links to the extremist Muslim Brotherhood in England’s northern city of Sheffield.


                                                      a. QNB


            68.     QNB, founded in 1964, was Qatar’s first domestically owned commercial bank.

            69.     The Qatar Investment Authority, Qatar’s state-owned sovereign wealth fund, owns

    a 50% interest in QNB.

            70.     The Qatar Investment Authority was founded in 2005 by Qatar’s then-Emir,

    Hamad bin Khalifa Al Thani. Hamad bin Jassim bin Jaber bin Mohammed bin Thani Al Thani,




                                                    -12-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 13 of 67 PageID #: 2043




    the former Prime Minister and Foreign Minister of Qatar, ran the Qatar Investment Authority until

    2013. From 2015 to 2018, Sheikh Abdullah bin Mohammed bin Saud Al Thani, another member

    of the Qatari royal family, served as the Qatar Investment Authority’s CEO.

           71.      QNB is controlled by the Qatari government and members of the Qatari royal

    family through their substantial stock ownership in the bank and membership on the bank’s board

    of directors. Several members of the Qatari royal family are or have been members QNB’s board,

    including the bank’s current vice-chair.

           72.      QNB markets its ability to provide “Sharia compliant current accounts in

    numerous currencies” and associated services throughout the Middle East and in the U.K.

    According to QNB, its “Islamic products and offerings are approved by our Sharia Supervisory

    Board (SSB).”

           73.      Yousuf Abdulla Al-Qaradawi, the Chairman of the Union of Good, sits on the

    QNB SSB even though the Union of Good is a U.S.-designated terrorist organization created by

    Hamas to collect funding through purported charitable donations.


                       THE FACTUAL BASES FOR PLAINTIFFS’ CLAIMS

             THE CONSPIRACY AMONG QATAR AND DEFENDANTS TO FUND
               HAMAS IN CIRCUMVENTION OF U.S. AND INTERNATIONAL
                                 SANCTIONS

           A. Hamas
           74.      Hamas is an acronym for “Harakat al-Muqawama al-Islamiyya,” the Islamic

    Resistance Movement. Hamas was founded in December 1987 by Sheikh Ahmed Yassin, Salah

    Shehada, Abd al-Aziz al-Rantisi, Muhammad Sham’a, Ibrahim al-Yazuri, Issa al-Nashar and Abd

    al-Fatah Dukhan.




                                                   -13-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 14 of 67 PageID #: 2044




             75.     Hamas is an offshoot of the Muslim Brotherhood, a radical Islamic group founded

    in Egypt before World War II.

             76.     Hamas is a U.S. government-designated Foreign Terrorist Organization (“FTO”)

     dedicated to radical Islamist principles and the destruction of the State of Israel. It uses violence,

     including suicide bombings and missile attacks, and threats of violence to pressure Israel to cede

     territory to the Palestinian people.

             77.     Hamas is nominally divided into three interconnected wings: (i) a political

    organization; (ii) the “Da’wa,” Hamas’s social service or humanitarian component; and (iii) a

    military operational wing known as the Izz-al-Din al-Qassam Brigades.

             78.     Although these components have separate responsibilities, the Hamas

    organization operates seamlessly, with each component working together to conduct and support

    the military operations and achieve the illegal objectives of the terrorist group as a whole.

             79.     Hamas’s social services are, in large part, administered by local “zakat”

    committees and charitable societies. Hamas either established these committees or co-opted them

    by, inter alia, installing Hamas members, operatives and activists as members of the zakat

    committees’ governing bodies. These committees and organizations collect and distribute funds

    on behalf of Hamas for the organizations’ purposes.

             80.     The zakat committees play important roles in channeling funds to pay expenses

    for, and assist the families of, terrorist operatives who are arrested, injured or killed.

             81.     The zakats also assist with providing housing subsidies to the families of suicide

    bombers, whose homes are often demolished by the Israeli army after the bombers’ identities are

    confirmed. The zakat committees also helped to identify and recruit potential terrorists.




                                                      -14-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 15 of 67 PageID #: 2045




            82.     Hamas regularly routs significant sums that it nominally collects for charitable and

    humanitarian purposes to terrorist and other operational uses. Hamas used (and still uses) those

    funds to obtain weapons and explosives and to provide transportation services, safehouses,

    training and salaries for its terrorist operatives and recruiters.

            83.     Even the funds the zakats utilize for charitable purposes free up other money for

    use in connection with terrorist acts. And the funds Hamas uses for charitable purposes directly

    support its military operations, as they bolster Hamas’s image-making machine, which increases

    its fundraising and attracts new foot soldier recruits.

            B. Hamas’s Formal Designation as a Terrorist Organization
            84.     In 1989, the Government of Israel declared Hamas a terrorist organization and

    designated it an “unlawful organization” because of its terrorist acts. Notice of the designation

    was placed in the Announcements and Advertisements Gazette, an official Government of Israel

    publication.

            85.     On January 23, 1995, President Clinton issued Executive Order No. 12947, which

    found that “grave acts of violence committed by foreign terrorists that threaten to disrupt the

    Middle East peace process constitute an unusual and extraordinary threat to the national security,

    foreign policy, and economy of the United States.”

            86.     Executive Order No. 12947 designated Hamas as an SDT and “blocked” all of its

    property and interests in property.

            87.     On October 8, 1997, by publication in the Federal Register, the United States

    Secretary of State designated Hamas as a Foreign Terrorist Organization (“FTO”) pursuant to

    Section 219 of the Immigration and Nationality Act and the Antiterrorism and Effective Death




                                                       -15-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 16 of 67 PageID #: 2046




    Penalty Act of 1996. The designation of Hamas as an FTO has been renewed every two years

    since 1997.

            88.      On September 23, 2001, in response to the September 11, 2001 terrorist attacks on

    the United States, President Bush issued Executive Order No. 13224, which declared a


     national emergency with respect to the “grave acts of terrorism ... and the continuing and

     immediate threat of further attacks on United States nationals or the United States.”

            89.      Executive Order No. 13224 designated Hamas as an SDGT. That Executive Order

    also blocked all property and interests in property of SDGTs, including Hamas.

             C. Qatar’s Direct and Deliberate Funding of Hamas and Provision of Safe Haven
                to Hamas Leadership
            90.      From at least 2011 through 2015, Hamas knowingly, willfully, and unlawfully

    combined, conspired, confederated and agreed with Defendants to commit numerous acts of

    international terrorism, as defined by 18 U.S.C. §§ 2331 and 2332. Those acts of international

    terrorism included acts of murder, attempted murder, and solicitation to commit murder, as well

    as providing material support to designated FTOs.

             91.     Like any enterprise, terrorist organizations like Hamas require money to operate.

     But unlike legitimate companies, terrorist organizations must conduct their fundraising and other

     financial activities in a clandestine manner.

            92.      As a result, Hamas – like many other terrorist organizations – employs creative

    fundraising strategies that rely heavily upon sympathetic nation states and financial institutions to

    disguise Hamas’s economic activities and thereby facilitate its efforts to evade anti-terrorism laws.

            93.      In large part, Hamas endeavored to cloak its terror-financing efforts in a veneer of

    “charitable” donations.




                                                     -16-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 17 of 67 PageID #: 2047




               94.    The government of Qatar has long maintained an official policy of providing

     financial support to Hamas, often disguised as purported charitable donations.

               95.    Defendants, all of which the Qatari government and royal family dominate, have

     played integral roles in Qatar’s support of Hamas.

               96.    Qatar’s support for Hamas started at least as early as 2006. At that time, shortly

     after the elections that brought Hamas to power in Gaza, Qatar pledged $50 million to what was

     then a Hamas-dominated Palestinian Authority government.

               97.    In 2008, Palestinian officials stated that Qatar provided Hamas with “millions of

     dollars a month” nominally intended for the people of Gaza.3

               98.    In October 2012, Qatar pledged $400 million to Hamas. In response, 24 U.S.

     members of Congress wrote to the Qatari ambassador, stating that Qatar’s support of “Hamas, a

     U.S.-designated Foreign Terrorist Organization…legitimizes, and bolsters an organization

     committed to violence and hatred.”

               99.    A 2013 memo marked “secret” addressed to Sheikh Hamad bin Jassem (Qatar’s

     Prime Minister and Foreign Minister and a Qatari royal family member) from Ali Fahad Al- Hajri,

     the Qatari Assistant Minister of Foreign Affairs, shows the extent of the Qatari government’s

     support for Hamas.

               100.   Al-Hajri’s memo noted that, at bin Jassem’s instruction, $250 million had been

     paid from the Qatar Central Bank directly to Hamas’s leader, Khaled Meshal. The memo stated:

     “I would like to inform Your Excellency that the approved payment was extracted from the

     emergency fund at the Ministry of Finance by check no. (060622496) dated 27/01/2013 and drawn



           3
             Qatar Seen Bankrolling Hamas,” The Washington Times, March 5, 2008 (available at
    http://www.washingtontimes.com/news/2008/mar/05/qatar-seen-bankrolling-hamas/?page=all).


                                                     -17-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 18 of 67 PageID #: 2048




    from Qatar Central Bank on behalf of Mr. Khaled Abdel Rahim Ismail Abdel Kader Misha'al,

    (Hamas).”

              101.   Qatar is Hamas’s largest single funder. Between 2012 and 2018, Qatar officially

    provided Hamas with over $1.1 billion.

              102.   In March 2014, Treasury Under Secretary David Cohen singled out Qatar as an

    especially “permissive jurisdiction” for terrorist financing. He noted that Qatar “has for many

    years openly financed Hamas, a group that continues to undermine regional stability.”

              103.   At the same time, Cohen noted that Qatari oversight is so lax that “several major

     Qatar-based fundraisers act as local representatives for larger terrorist fundraising networks that

     are based in Kuwait.” Cohen further stated that Qatar not only supports Hamas, but also extremist

     groups operating in Syria. See https://www.treasury.gov/press-center/press-releases/Pages/jl2308

     .aspx.

              104.   Other Middle Eastern governments have also recognized the substantial role that

     Qatar’s government plays in supporting terrorism in the region. Saudi Arabia, Bahrain, Egypt,

     and the UAE all cut ties with Qatar on June 5, 2017, due to Qatar’s longstanding connections with

     terrorist organizations.

              105.   In addition to substantial financial support, Qatar has provided safe haven to

    Hamas’s political leadership since 2012. Among other Hamas officials, the organization’s current

    leader, Khaled Meshal, has resided in Qatar since 2012.

              106.   Moreover, in April 2013, Qatar chartered a private flight to transport senior Hamas

    political leader Ismail Haniyeh, who was at that time a leader of the Palestinian National

    Authority, to Doha.




                                                     -18-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 19 of 67 PageID #: 2049




                 107.   Qatar arranged for two founders of Hamas’s military wing, Yehia Sinwar and

    Rawhi Mushtaha, to join Haniyeh on that flight.

                 108.   As of February 2020, Haniyeh was still living in and protected and supported by

    Qatar.

                 D. Qatar’s Use of the Bank Defendants
                    to Facilitate the Illicit Funding of Hamas
                 109.   The U.S. government has recognized the critical role that Qatar plays in funding

    terrorist organizations.

                 110.   According to the March 4, 2014 prepared statements of David Cohen, who was

    then serving as Treasury Under Secretary for Terrorism and Financial Intelligence:

                 Private fundraising networks in Qatar…increasingly rely upon social media to
                 solicit donations for terrorists and to communicate with both donors and recipient
                 radicals on the battlefield. This method has become so lucrative, and Qatar has
                 become such a permissive terrorist financing environment, that several major
                 Qatar-based fundraisers act as local representatives for larger terrorist
                 fundraising networks…. There should be no doubt that while we remain
                 committed to working with countries such as…Qatar to confront ongoing
                 terrorist financing, the U.S. will not hesitate to act on its own to disrupt these
                 terrorist financing networks.4

                 111.   Consistent with Under Secretary Cohen’s remarks, Qatar exploited its control of

    Masraf Al Rayan to use the bank to funnel money to Hamas under the guise of donations to various

    purported “charitable” organizations. Qatar Charity was the principal beneficiary of that illicit

    scheme.

                 112.   From March 1, 2015 until September 7, 2015 alone, Defendants conspired to use

    Masraf Al Rayan to transfer over $28 million in supposed charitable donations from Qatar Charity




             4
                 https://www.treasury.gov/press-center/press-releases/Pages/jl2308.aspx.


                                                        -19-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 20 of 67 PageID #: 2050




    in Doha to its two branches in the Palestinian Territories (one in Gaza and the other in the West

    Bank).

             113.   Qatar Charity eventually transferred a substantial portion of those funds to Hamas

    and supposed charities that it controlled.

             114.   Among other supposed charities tied directly to Hamas, Qatar Charity transferred

    at least $150,000 to Hebron Islamic Charity Society between March 2011 and September 2015.

             115.   Well before that time period, Israel had outlawed the Hebron Islamic Charity

    Society because it operated as an arm of Hamas.

             116.   According to the confessions of the Director and staff of Qatar Charity’s Ramallah

    Branch (located about 10 miles from Jerusalem), as well as that organization’s financial books,

    the conspiracy to fund Hamas involved the following steps designed to pass U.S. dollars (“USD”)

    through the American banking system for Hamas’s benefit:

                    a.      Qatar Charity would solicit donations in Qatar and around the world.

                    b.      Qatar Charity would transfer those funds to its account at Masraf Al Rayan

                            in Doha.

                    c.      Between 2009 and 2015, Masraf Al Rayan arranged for currency exchange

                            transactions that involved converting in excess of $3.5 million in USD and

                            Euros held by Qatar Charity in Doha into Israeli shekels and moving those

                            funds to Qatar Charity in the Palestinian Territories.

                    d.      The USD used in connection with those transactions passed through Bank

                            of New York Mellon in New York and on to the Qatar Charity accounts

                            held at either the Bank of Palestine or the Islamic Bank in Ramallah.




                                                    -20-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 21 of 67 PageID #: 2051




                    e.      Qatar Charity then distributed a portion of those funds to Hamas and its

                            affiliates.

                    f.      In addition to those funds, between 2011 and 2013, Qatar Charity moved

                            $25 million from Doha to the banned Qatar Charity entity operating in the

                            Gaza Strip.

                    g.      Those dollars also passed through the Bank of New York.

            117.    Qatar Charity annual reports for 2013, 2014, and 2015 reflect that Qatar Charity

    transferred funds to, and carried out joint projects with, various Hamas fronts, including the

    Elehssan Society.

            118.    On May 4, 2005, Treasury designated the Elehssan Society “a charitable front for

    the Palestinian Islamic Jihad.” A Treasury press release announcing the designation stated that

    “in addition to its use as a financial conduit, Elehssan is used by PIJ to recruit for its operational

    cadre. In early 2003, Elehssan planned to open a youth center to support PIJ activity and conduct

    PIJ-related recruitment and training.”

            119.    Stuart Levey, then Treasury Under Secretary for the Office of Terrorism and

    Financial Intelligence, noted that “Elehssan masquerades as a charity, while actually helping to

    finance Palestinian Islamic Jihad’s acts of terror against the Israeli people and other innocents.”

            120.    In a criminal proceeding involving a notorious PIJ finance ring operated by former

    University of South Florida professor Sami Al-Arian, Elehssan was also named as a recipient of

    support from the three defendants.

            121.    Despite Qatar Charity’s clear and substantial links to terrorist entities, Masraf Al

    Rayan completed USD transfers to Qatar Charity in the Palestinian Territories throughout the




                                                     -21-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 22 of 67 PageID #: 2052




    conspiracy. Those transfers proceeded in defiance of Israeli law, which governs banking activity

    in the territories.

            122.     During the entirety of the conspiracy, Qatar Charity was operating illegally in the

    Palestinian Territories, as Israel had designated Qatar Charity a member of the Union of Good,

    and specifically as a funder of Hamas, in 2006. Qatar Charity was therefore banned from operating

    within Israel.

            123.     Additionally, during the entirety of the conspiracy, Qatar Charity was listed as a

    priority III terrorism support entity by the United States Interagency Intelligence Committee on

    Terrorism.

            124.     In 2009, however, the Qatari government decided, in defiance of Israeli law, to re-

    open Qatar Charity’s operations in the Palestinian Territories.

            125.     Qatar Charity’s operations again ceased in July 2015, however, when the Israeli

    government intervened to shutter the organization and arrest three of its senior executives (Fadi

    Mansra, Judeh Jamal and Najwan Odeh).

            126.     The Qatari government demonstrated its loyalty to Qatar Charity even after the

    arrest of those three individuals and the closing of Qatar Charity’s operations in the Palestinian

    Territories.

            127.     In 2017, Mr. Jamal—who had served as Qatar Charity’s Director—was convicted

    in Israel for operating an illegal organization and transferring funds to Hamas. Eventually, he

    served just less than 23 months for his offenses and was fined one million Israeli shekels. The

    Qatari Foreign Ministry eventually paid Mr. Jamal’s fine.




                                                     -22-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 23 of 67 PageID #: 2053




            128.     Ms. Odeh, who was the operations manager for Qatar Charity, received a 17-

    month sentence and a 100,000 shekel fine for the same offenses. The Qatari government, directly

    or indirectly, also paid that criminal fine.

            129.     Mr. Mansra, who worked in accounts at Qatar Charity, served roughly 2.5 years

    in jail for his offenses. To secure Mr. Mansra’s release, the Qatari Foreign Ministry paid his one

    million shekel fine.

            130.     Even before Israel acted to shutter Qatar Charity’s operations in the Palestinian

    Territories in 2015, other banks operating there had taken steps to eliminate their dealings with

    Qatar Charity.

            131.     For example, Arab Bank, a large Jordanian bank, refused to process salary

    payments made by Qatar Charity to its employees in the Palestinian Territories. In addition, the

    Banque du Caire, an Egyptian institution, refused to conduct banking activities for Qatar Charity

    in the Palestinian Territories.

            132.     Pursuant to Defendants’ conspiracy, Qatar Charity also used its accounts at Masraf

    Al Rayan to solicit contributions from donors, purportedly for humanitarian purposes such as

    assisting Syrian refugees. In fact, however, Qatar Charity used a substantial portion of the funds

    that it solicited through the Masraf Al Rayan account to fund Hamas and other terrorist causes.

            133.     These facts, along with the Qatari government’s open support for Hamas,

    demonstrate that Masraf Al Rayan was knowingly complicit in financing Hamas.

            134.     The transfers that Masraf Al Rayan made to Qatar Charity through the Bank of

    Palestine also enabled Defendants to distribute funds directly to terrorists and their family

    members anonymously under the guise of “charitable” donations.




                                                    -23-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 24 of 67 PageID #: 2054




            135.    Defendants accomplished that objective by funding Qatar Charity’s purchase of

    thousands of anonymous debit cards known as “Sanabel Cards” from the Bank of Palestine.

            136.    Pursuant to the Defendants’ conspiracy, those anonymous debit cards were then

    distributed in the Palestinian Territories to thousands of recipients.

            137.    The Sanabel Card scheme effectively operated as a source of financing for Hamas.

    The organization’s operatives utilized the debit cards to fund their personal financial needs while

    they planned terrorist attacks. Hamas-affiliated terrorists also used the Sanabel cards to make the

    limited expenditures that their crude attacks required, such as securing ammunition and

    purchasing gasoline and other supplies.

            138.    In addition, Defendants’ Sanabel Card scheme effectively operated as an insurance

    policy for Hamas terrorists and their family members. When the terrorists were imprisoned for

    their illicit conduct, both they and their family members received priority eligibility status for the

    distribution of the Sanabel Cards.

            139.    Likewise, when Hamas terrorists were killed during their efforts to carry out

    terrorist attacks, their family members were provided with priority eligibility for Sanabel Cards.

            140.    Thus, the anonymous distribution of Sanabel Cards permitted Defendants to

    encourage terrorism both by directly funding the low-cost attacks that Hamas operatives

    committed and by assuring those terrorists that both they and their family members could rely

    upon a financial safety net when the attackers were arrested or killed.

            E. Masraf Al Rayan Provided Defendants with the Access to the U.S. Financial
               System that Their Conspiracy Required
            141.    In furtherance of Defendants’ conspiracy to provide the dollars that Hamas needed

    to conduct its terrorist operations, Masraf Al Rayan utilized the U.S. financial system to move

    Qatar Charity funds to the Palestinian Territories and into terrorist hands.



                                                     -24-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 25 of 67 PageID #: 2055




            142.    Masraf Al Rayan had no U.S. branch or office. As a result, it arranged with

    banking institutions that maintained offices located in New York to conduct “correspondent

    banking” transactions that allowed Masraf Al Rayan to move USD through the international

    banking system.

            143.    A correspondent bank is a financial institution that creates and maintains accounts

    for other financial institutions. The account holder uses the account with the correspondent bank

    to make deposits and payments and to engage in other financial transactions, particularly those

    requiring currency translation.

            144.    Correspondent banks can act as intermediaries between banks in different

    countries or as an agent to process local transactions for clients of the account holder when they

    are traveling abroad. At the local level, correspondent banks can accept deposits, process

    documentation, and serve as transfer agents for funds.

            145.    The ability of correspondent banks to provide these services relieves foreign banks

    of the need to establish a physical presence in other jurisdictions, such as the U.S.

            146.    Foreign banks often use correspondent banks in the U.S. to access the U.S.

    financial system and to conduct USD transactions. Frequently, those transactions involve the

    exchange of currencies or transfers made in currencies other than the account holder’s home

    currency.

            147.    At all times relevant to Plaintiffs’ claims, Masraf Al Rayan maintained a direct or

    indirect correspondent banking relationship with Bank of New York Mellon, and perhaps other

    U.S. banks.

            148.    The correspondent banking relationship that Masraf Al Rayan maintained with

    Bank of New York Mellon allowed Masraf Al Rayan to access the U.S. financial system to




                                                     -25-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 26 of 67 PageID #: 2056




    complete transactions in USD for its customers. That correspondent banking relationship also

    enabled Masraf Al Rayan to benefit from the stability and reliability of New York’s banking laws.

            149.      By means of the transactions that Masraf Al Rayan conducted through its

    correspondent accounts, the bank was able to transfer USD for its clients, convert its clients’ USD

    into other currencies (USD to Euros, for example), and convert other currencies held by its clients

    into USD (Euros to USD, for example).

            150.      Masraf Al Rayan used its correspondent banking relationships in New York to

    process USD transactions for Qatar Charity. As a result, those relationships allowed Qatar Charity

    and Hamas to access USD and to distribute those dollars to terrorists and their family members in

    the Palestinian Territories, where USD were a coveted currency during the time period relevant

    to this action.

            151.      Qatar Charity and Hamas could not have obtained those USD without Masraf Al

     Rayan’s participation in Defendants’ terrorist funding scheme. Reputable international banking

     institutions would not have passed USD through the American banking system on behalf of an

     entity such as Qatar Charity, which was a known supporter of Hamas.

            152.      At the time Defendants participated in their conspiracy to pass USD to Hamas,

    Defendants knew or should have known that Hamas regularly targeted U.S. nationals for

    assassinations, suicide bombings and other terrorist attacks.

            153.      Without the support that Masraf Al Rayan provided through the conspiracy

    Plaintiffs allege, Hamas would have been unable to carry out the attacks described below.

            F. QNB’s Support of Hamas and Defendants’ Conspiracy by Providing Financial
               Services to Hamas Leadership, Qatar Charity, and the Union of Good
            154.      Like Masraf Al Rayan, QNB violated its internal policies, U.S. law, and

    international banking standards by providing significant banking services that facilitated Qatar



                                                    -26-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 27 of 67 PageID #: 2057




    Charity’s efforts to pass USD to Hamas and to purported charities located in the Palestinian

    Territories that it controlled.

            155.     During the time period relevant to this action, QNB maintained at least seven

    accounts for Qatar Charity.

            156.     Six of these accounts were opened on March 18, 2012, while another was opened

    on September 20, 2006.

            157.     Qatar Charity has utilized those accounts at QNB to pass funds to purported

    charities that Hamas controls.

            158.     Throughout the time period relevant to Plaintiffs’ claims, QNB has also served as

    a principal banker for Hamas leadership. Those terrorists have used their QNB accounts to fund

    Hamas operations, including terrorist attacks.

            159.     In 2011, Israel released numerous convicted Hamas terrorists from incarceration

    to save the life of an Israeli soldier.

            160.     Shortly after that prisoner exchange, QNB opened accounts for at least 29 Hamas

    terrorists that Israel had freed.

            161.     Two terrorists opened their accounts on July 8, 2015 at a QNB branch in Doha.

    Roughly a month later, an additional 27 terrorists opened accounts at the same QNB branch on

    August 4, 2015.

            162.     Notably, at least 21 of those terrorists listed their addresses on the account opening

    documents as the same P.O. Box. At least two other terrorists registered their accounts to a second

    P.O. Box.

            163.     The fact that QNB allowed known Hamas terrorists, including one on the FBI’s

    most-wanted list, to open accounts on the same day and to register them to the same P.O Box




                                                      -27-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 28 of 67 PageID #: 2058




    demonstrates the bank’s failure – in contravention of its own policies and international banking

    standards – to conduct any due diligence in connection with opening those accounts.

            164.    The terrorists who opened QNB accounts in Doha on August 4, 2015 include

    Husam Badran, a Hamas Politburo spokesperson and former leader of Hamas’s military wing in

    the northern West Bank.

            165.    Badran was one of the most prominent leaders of the Izz al-Din al-Qassam

    Brigades, Hamas’s military wing, in the West Bank during the Second Intifada, an uprising of

    Palestinian violence that took place between 2000 and 2005. As a result, Badran was the target of

    a failed Israeli assassination attempt in 2002.

            166.    Badran spent 14 years in Israeli jails, during which time he was a member of

    Hamas’s “prisoner politburo.”

            167.    The name associated with the account in QNB’s records is “Husam Badran,” and

    the second and third digits of the Qatari national identification number associated with that

    individual indicate that this Husam Badran was born in 1966, the same year as the notorious

    terrorist of the same name.

            168.    The address that Badran used to open that account is shared by at least 20 terrorists

    released from Israeli prisons who opened QNB accounts in Doha on either July 8, 2015 or August

    4, 2015.

            169.    QNB maintained that account although Badran is one of Hamas’s most notorious

    terrorists.

            170.    As a Hamas military leader, Badran orchestrated a series of bombings that killed

    scores of innocent civilians and injured hundreds more.




                                                      -28-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 29 of 67 PageID #: 2059




            171.    The attacks that Badran planned include: the 2001 Sbarro Pizza bombing in

    Jerusalem that killed 15 and injured 130; the 2001 bombing of the Dolphinarium Discotheque in

    Tel Aviv that killed 21 and wounded 120; the 2002 bombing of the Passover Seder at the Park

    Hotel in Netanya that killed 30 and injured 140; and the 2002 bombing of the Matza restaurant in

    Haifa that killed 14 and injured 33.

            172.    Israeli security forces captured Badran in 2002. In 2004, he was sentenced to 17

    years in prison for his role in the above attacks.

            173.    In 2011, Israel released Badran as part of the prisoner exchange designed to save

    the life of an Israeli soldier. Soon thereafter, Badran moved to Qatar, where he currently resides

    with other Hamas leadership and continues to act as a Hamas spokesperson.

            174.    As a spokesperson for Hamas, Badran continues to advocate for Palestinian

    terrorism.

            175.    Additionally, according to the Shin Bet (the Israeli General Security Service) and

    the Israeli Defense Forces (“IDF”), Badran continues to give orders to Hamas terror cells and to

    provide them with funds by smuggling gold and jewelry purchased in Jordan into the West Bank.

            176.    QNB also opened an account for Musa Dudin, a member of the Hamas Politburo

    and a convicted Hamas terror cell operative, at the same Doha, Qatar branch on August 4, 2015.

            177.    Like Badran, Dudin registered that account to the same P.O. Box address that 20

    other terrorists released from Israeli prisons used to establish their QNB accounts in the summer

    of 2015.

            178.    Israel arrested Dudin in 1992 for his role in directing West Bank terror cells. Israel

     convicted Dudin for that terrorist conduct. As a result, he was serving a life sentence in Israel

     when he was released as part of the same 2011 prisoner exchange as Badran.



                                                     -29-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 30 of 67 PageID #: 2060




           179.    Like Badran, Dudin moved to Qatar soon after his release.

           180.    Dudin is currently responsible for maintaining Hamas’s “prisoner portfolio.” In

    that role, Dudin determines which Hamas terrorists should be released from prison in Israel in

    exchange for the release of civilians and IDF soldiers that Hamas has kidnapped or in exchange

    for returning the remains of IDF soldiers killed by terrorists to the soldiers’ family members.

           181.    The name associated with the QNB account held by this terrorist is “Musa Dudin.”

    The second and third digits of the Qatari national identification number associated with that

    individual indicate that this Musa Dudin was born in 1972, the same year as the notorious terrorist

    of the same name.

           182.    QNB also maintains several accounts for Yousuf Abdulla Al-Qaradawi, the chair

    of the Union of Good, a U.S.-designated terrorist organization.

           183.    Al-Qaradawi is a spiritual leader of the radical Muslim Brotherhood.

           184.    He also has a long history of inciting terrorist attacks and violent jihad in the

    Middle East. In response to international campaigns in Afghanistan against al-Qaida and the

    Taliban, and in Iraq against Saddam Hussein, al-Qaradawi issued religious rulings inciting

    Muslims to join jihadist groups and conduct attacks against U.S. and international forces. Al-

    Qaradawi has also issued religious rulings that purport to justify suicide bombings.

           185.    QNB has maintained accounts for Al-Qaradawi since at least 2006. The

    identification numbers on the accounts indicate that the account holder shares the same birth year,

    1926, as Al-Qaradawi.

           186.    QNB has endeavored to capitalize upon its relationship with Al-Qaradawi by

    placing him on the bank’s Sharia Advisory Board. QNB maintains such close ties to Al- Qaradawi

    that he performed the ribbon-cutting at the opening of QNB’s Islamic banking division.



                                                    -30-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 31 of 67 PageID #: 2061




            187.    By providing Al-Qaradawi with those high-profile roles, QNB cemented its

     relationship with him and solidified the bank’s reputation with the members of the Muslim

     religious community in Qatar, where Al-Qaradawi wields enormous social, political, and religious

     influence.

            188.    Al-Qaradawi’s influence as a leader in Qatar’s religious, media, education,

    financial and charitable sectors is enhanced by his position as a close friend and confidante of the

    Qatari royal family.

            189.    Indeed, the then-U.S. Ambassador to Qatar, Chase Untermeyer, wrote in a 2005

    State Department cable that Al-Qaradawi is “the only Islamic thinker in Qatar who matters.”

            190.    Al-Qaradawi’s status in Qatar is demonstrated by the fact that, at both the 2017

    and 2018 Ramadan banquets hosted by Qatar’s Emir, Sheikh Tamim bin Hamad Al-Thani,

    Qaradawi was seated next to the Emir. As the following photographs show, Al-Qaradawi chatted

    cordially with the Emir at those public holiday celebrations, and the Emir embraced Al- Qaradawi

    and kissed him on his forehead:




                                                    -31-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 32 of 67 PageID #: 2062




           191.    As his leadership position in a designated terrorist organization dedicated to the

    financial support of Hamas suggests, Al-Qaradawi espouses extreme, violent views. According

    to Mathew Levitt, Ph.D., a former counterterrorism official at the FBI and Treasury, “Qaradawi

    is one of the most public figureheads of the radical wing of the Muslim Brotherhood.”


                                                  -32-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 33 of 67 PageID #: 2063




           192.    Al-Qaradawi has officially provided his religious imprimatur to terrorist attacks in

    Israel. For example, in 2017, Al-Qaradawi stated that he no longer viewed suicide attacks as

    religiously justified because Hamas could by then mount attacks with rockets and other more

    sophisticated weapons.

           193.    As evidenced by the photograph that appears below, Al-Qaradawi continues to

    maintain close ties with Hamas leadership. That photograph, which was taken in 2016 in Qatar,

    shows Al-Qaradawi sitting between, and chatting with, the leading Hamas terrorists Khaled

    Meshal (the former chair of the Hamas Politburo, pictured on the right) and Ismail Haniyeh (the

    current head of the Hamas Politburo, pictured on the left) while resting his hands on their knees.

    Both of those Hamas leaders have long benefited from the safe haven Qatar provides to them.




           194.    The name associated with Al-Qaradawi’s QNB accounts is “Yousu Abdulla A Al-

    Qaradawi,” and the second and third digits of the Qatari national identification number associated

    with that individual indicate that this Al-Qaradawi was born in 1926, the same year as the Union

    of Good chair of the same name.


                                                   -33-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 34 of 67 PageID #: 2064




            195.     The account information indicates that Al-Qaradawi opened his QNB accounts in

    September 2006 and lists a P.O. box address in Doha.

            196.     QNB also opened an account for Ahlam Aref Ahmad Tamimi on August 4, 2015

    at the same Doha branch as her fellow releasees from Israeli prisons.

            197.     Tamimi is a Jordanian national and “journalist” who was involved in the 2001

    Hamas suicide bombing of a Sbarro Pizzeria in Jerusalem that killed 15 people, including two

    Americans, and injured scores of other victims.

            198.     Tamimi is one of the FBI’s most-wanted women. A warrant for Tamimi’s arrest

    and extradition from Jordan was issued in 2013 and unsealed in 2017.

            199.     The QNB records evidencing Tamimi’s account confirm that the accountholder

    shares the same birth year as the terrorist.

            200.     The terrorists who opened accounts at the same Doha branch of QNB on August

    4, 2015 also include Zaher Ali Musa Jibril (a/k/a Zahar Jabarin).

            201.     Like 20 other terrorists released from Israeli prisons in the 2011 prisoner exchange,

    Jibril listed the same Doha P.O. Box as his address on the account opening documents. The

    account records for Jibril’s QNB account demonstrate that the accountholder has the same birth

    year as the terrorist Jibril.

            202.     Jibril has been named a Specially Designated National by Treasury. Jibril earned

    that designation because he serves as a senior Hamas leader who helped found the Hamas military

    wing in the West Bank.

            203.     Israel convicted Jibril of killing Israeli soldier Giti Avishar in 1993. According to

    Treasury, the name that appears on the QNB account, Jibril, is an alias for Zahar Jabarin. Jibril




                                                     -34-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 35 of 67 PageID #: 2065




    has long served in top financial positions for Hamas and currently runs Hamas’s financial

    operations from Turkey.

            204.    The terrorists who opened a QNB account on August 4, 2015 at the same Doha

    branch also include Hisham Hijaz. Like at least 20 other terrorists released from Israeli prisons in

    the 2011 prisoner exchange, Hijaz used the same Doha P.O. Box to open his QNB account during

    the summer of 2015.

            205.    According to terrorism-info.org, Hijaz met with Bakr Atallah Samih Sa’ad in 2013

    in Jordan. The ISA later detained Sa’ad for planning to carry out shooting attacks and abductions

    in Israel.

            206.    Hijaz also met in Istanbul with a Palestinian Imam and offered $20,000 to the

    family of anyone who carried out a suicide bombing in Israel.

            207.    The account records for Hijaz’s QNB account demonstrate that the accountholder

    shares the same birth year as the terrorist Hijaz.

            208.    QNB also maintains accounts for Moustafa Mamdouh Mesalm, a senior

    accountant at Qatar Charity, and an individual named Ibrahim M A Al-Kaabi, both of whom list

    their address as a Qatar Charity P.O. Box.

            209.    Other terrorists released from Israeli prisons as part of the 2011 prisoner exchange

    who opened accounts at QNB in the summer of 2015 include the following:

        Accountholder Name      Date Account      Accountholder          History of Terrorist Conduct
                                  Opened             Address


      Abedalaziz Amro          8/4/15            P.O. Box 38479   Participated in the 2003 Café Hillel bombing
                                                 Doha, Qatar      in Jerusalem that killed seven and injured 50
                                                                  more.

      Majdi Amr                8/4/15            P.O. Box         Shot and killed 28-year-old David Cohen in
                                                 Doha, Qatar      July 2001 in front of his wife and children. In
                                                                  2002, helped to organize the attack on Bus
                                                                  No. 37 in Haifa, Israel that killed 17 and



                                                      -35-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 36 of 67 PageID #: 2066



                                                                   injured 50 more. Played an important role in
                                                                   developing explosive devices for Hamas.


      Ibrahim Sulaim Mahmud      8/4/15         P.O. Box 5045      A terrorist affiliated with the Fatah
      Shammasina                                Doha, Qatar        organization. He was involved in the 1990
                                                                   murder of 23 Israelis and was later sentenced
                                                                   to an additional 20 years in jail in connection
                                                                   with his role in planning a kidnapping.
      Abd al-Hakim Abd al-       8/4/15         P.O. Box           A Hamas terrorist convicted of making
      Aziz abd Hanaini                          Doha, Qatar        explosives for use by militants against
                                                                   Israelis.
      Nizar Muhammad Taysir      8/4/15         P.O. Box 207338    In August 1998, ambushed and killed Harel
      Ramadan                                   Doha, Qatar        Bin-Nun, 18, and Shlomo Liebman, 24, who
                                                                   were on patrol at the Yitzhar settlement in the
                                                                   West Bank.
      Nasir Sami Abd al-Razzaq   8/4/15         P.O. Box 207338    Planned the deadly Passover 2002 bombing of
      Ali al-Nasser-Yataima                     Doha, Qatar        the Park Hotel in Netanya that helped trigger
                                                                   Israel’s reoccupation of the West Bank.
      Muhammad Waal              8/4/15         P.O. Box 207338    A co-conspirator in the 2001 Sbarro Pizza
      Muhammad Daghales                         Doha, Qatar        bombing in Jerusalem that killed 15 and
                                                                   injured 130.



            210.     The accounts that QNB maintained for the above-mentioned terrorists were used

    to finance Hamas terrorist activities in Israel. The accounts allowed the released terrorists to

    finance their personal expenditures, thereby freeing them to continue to conduct activities on

    behalf of Hamas. In addition, the terrorists directly used those funds to further the efforts of Hamas

    to carry out terrorist attacks.

            211.     QNB also contributed directly to Qatar Charity in order to promote Qatar Charity’s

    ability to fund Hamas and other terrorist organizations. For example, in November 2013, QNB

    contributed one million Qatari riyals, or roughly $275,000, directly to Qatar Charity.

            212.     In or about February 2020, QNB also contributed 2 million Qatari riyals, or

    roughly $550,000, directly to Qatar Charity, purportedly to assist Syrian refugees.

            G. The Bank Defendants’ Purported Anti-Terrorism Policies Provided Them with
               Knowledge of the Unlawful Purpose of Their Financial Dealings with Qatar
               Charity




                                                     -36-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 37 of 67 PageID #: 2067




             213.       Like other international banks, particularly those involved in transactions that touch

     upon areas plagued by terrorism such as the Palestinian Territories, Masraf Al Rayan and QNB

     (collectively, the “Bank Defendants”) had to implement and employ anti-money laundering

     (“AML”), counter-terrorism financing (“CTF”), know-your-customer (“KYC”), and other

     duediligence requirements designed to prevent precisely the type of illicit activity that injured and

     killed Plaintiffs and their family members.

             214.       Among other sources, those rules were provided by the banking law of Qatar and

    the U.S., as well as the CTF, AML, KYC, and customer due diligence procedures that the Bank

    Defendants purportedly maintained and that international banking standards imposed at all

    relevant times.

             215.       Qatari AML and CTF laws, like U.S., European Union, and international law,

    prohibit collecting funds to support terrorism and require banks to implement procedures to

    combat the financing of terrorism.

             216.       In addition, multiple internationally recognized banking organizations have

    published guidelines designed to guide best practices by financial institutions and to prevent them

    from becoming entangled with terrorist organizations or facilitating the flow of money to those

    illicit entities.

             217.       Those international standards provided the Bank Defendants with well-accepted

    guidance regarding the AML, CTF, KYC and due diligence procedures that banks should employ

    to prevent the illicit use of their services by terrorist groups, individual terrorists, and their

    sympathizers.

             218.       International AML and CTF standards are published by three broad categories of

    organizations: (a) those concerned primarily with financial/supervisory matters, including the




                                                        -37-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 38 of 67 PageID #: 2068




    Basel Committee of Banking Supervision (the “Basel Committee”); (b) those concerned with

    financial/supervisory and legal/criminal enforcement matters, including the Financial Action Task

    Force (“FATF”), the United Nations, the Council of Europe, and the European Union; and (c)

    those primarily concerned with legal/criminal enforcement matters, including the Egmont Group

    of Financial Intelligence Units.

            219.    In addition, the Wolfsberg Group is an association of global banks that has

    published guidelines based on its understanding of international standards, as well as the member

    banks’ own policies and procedures for KYC, AML and CTF functions.

            220.    The leading authorities that international banks follow to strengthen their AML

    and CTF policies include: FATF’s International Standards on Combating Money Laundering and

    the Financing of Terrorism & Proliferation; the Wolfsberg Anti-Money Laundering Principles for

    Private Banking; and the Basel Committee’s Anti-Money Laundering principles.

            221.    Those internationally recognized standards obligate banks to adopt a risk-based

    approach to evaluate prospective customers, to monitor those customers on an ongoing basis, and

    to systematically monitor funds flowing into and out of their institutions.

            222.    The risk-based approach that banks employ involves both customer-specific due

    diligence and systems-wide transaction monitoring. The level of due diligence applied to a

    customer is based on the customer’s risk profile.

            223.    In evaluating the level of risk presented by a customer, banks do not look to any

    single indicator.

            224.    Rather, risk assessment evaluates customers, accounts and transactions against

    established criteria. Because banks are unable to check every transaction offline, they develop




                                                    -38-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 39 of 67 PageID #: 2069




    risk-profiles, applying relatively greater scrutiny to those customers and transactions that pose the

    greatest risk of unlawful activity.

             225.   The most commonly used risk criteria are country risk, customer risk, and service

     risk.

             226.   Country risk is measured by the connections between customers or transactions

    and high-risk jurisdictions. Relevant connections include any nexus between a high-risk

    jurisdiction and: the funds involved in a transaction; the customer or its officers and directors; or

    the counterparties or financial institutions involved in a transaction.

             227.   High-risk jurisdictions include countries: (a) subject to sanctions, embargoes or

    similar measures; (b) identified by the FATF as non-cooperative; (c) identified by credible sources

    as providing funding or support for terrorist activities; (d) where terrorism or other violent conflict

    is prevalent; and (e) identified by credible sources as having significant levels of corruption, drug

    trafficking or other criminal activity.

             228.   In addition, country risk includes the existence of unregulated charities and other

    unregulated not-for-profit organizations that do business with a bank’s customers or are parties to

    transactions involving the bank.

             229.   Customer risk involves an assessment of, among other things, the nature of the

    customer and the business in which it engages. Well-established corporations, for example,

    present lower risks than unknown sole proprietorships, particularly where the latter are largely

    cash businesses.

             230.   Charities warrant additional scrutiny because criminal enterprises, including

    terrorist organizations, frequently exploit purported charitable organizations to gather and move

    funds.



                                                     -39-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 40 of 67 PageID #: 2070




            231.    Services risk relates to the kinds of banking services the customer anticipates or

    actually uses. For example, wire transfers are considered a higher-risk service because they are a

    principal means used by criminal enterprises to move funds between and among persons,

    institutions and countries.

            232.    While the occasional use of wire transfers alone may not give rise to suspicion, the

    number, frequency, origin and destination of wire transfers are risk factors that banks must

    consider as part of their ongoing evaluation of persons and entities with whom they conduct

    business. Transactions involving the transfer of funds internationally or that involve some effort

    to render a participant anonymous to a bank present higher levels of service risk.

            233.    KYC standards are well-established risk-management rules that obligate banks to

    develop a clear and concise understanding of their customers and their businesses.

            234.    Those standards constitute an integral element of both opening and maintaining

    bank accounts and customer relationships.

            235.    Thus, KYC procedures are an ongoing process. By gaining familiarity with their

    customers, and the kinds of services and account activity each customer might reasonably

    undertake, banks can uncover and prevent potential, actual or suspected unlawful activity.

            236.    Standard banking industry practice calls for banks to begin applying KYC

    measures when they first establish a new customer relationship, typically when that new customer

    seeks to open an account.

            237.    Standard KYC account opening procedures include: obtaining proper

    documentation of the customer’s legal status (e.g., sole proprietorship, corporation, or charitable

    association); verifying the customer’s name, address and other identifier information; obtaining

    identification documentation for the customer’s officers and directors, at least with respect to those




                                                     -40-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 41 of 67 PageID #: 2071




    authorized to engage in banking transactions; gathering information on the customer’s business,

    including its sources of funds, the kinds of services the customer will be using the bank for, and

    where the customer’s funds will be going; and other information necessary to formulate a risk

    profile for that customer.

            238.     In formulating a customer’s risk profile, a bank must pay particular attention to the

    country risk posed by the customer or its officers and directors; i.e., the connections they may

    have with high-risk jurisdictions. Contacts with high-risk jurisdictions mandate closer scrutiny

    of the customer during the entire course of the business relationship.

            239.     A bank’s risk-management function includes the adoption of sound policies and

    procedures for determining expected or normal activity at account opening, as well as during the

    course of the relationship. Evaluating reasonably expected account activity against actual

    transactional activity is a critical aspect of customer due diligence. Account and transaction

    monitoring is the backbone of any AML or CTF compliance program.

            240.     Banks constantly monitor their customers’ accounts and transactions. The

    monitoring of transactions encompasses the entire spectrum of the money flow of wire

    transactions, particularly those involving the international transmission of funds. That monitoring

    includes gathering information concerning the originators and recipients of transactions because

    a bank cannot effectively evaluate a transaction or transactional pattern by looking only at one

    side of the money flow.

             241.    The purpose of this monitoring activity is to identify: (a) transactions that by their

     very nature are inherently suspect; (b) unusual transactions, i.e., transactions that do not have an

     obvious financial or legitimate purpose; and (c) suspicious transactions, i.e., transactions that may




                                                      -41-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 42 of 67 PageID #: 2072




     be considered inconsistent with the known and legitimate business of the customer or with the

     usual activity in the account in question.

             242.    Transaction monitoring compares transactional information against identified

    risks. Among other things, transaction monitoring compares account/transaction activity against

    the customer’s profile, compares that activity to peer group data, measures the activity against

    established typologies, and highlights and investigates anomalous, unusual, or suspicious

    transactions.

             243.    Customer due diligence also utilizes and references third-party information such

    as newspapers, internet data, and the information available in banks’ internal databases to maintain

    an adequate understanding of banks’ clients and the environment in which each client does

    business, including unusual political or terrorism-related factors operative in the countries

    connected to the client’s transactions.

             244.    The need for this ongoing analysis is particularly acute when customers are

    connected with global hot spots or conflict zones, or otherwise have high risk profiles.

             245.    Like other international banks, the Bank Defendants maintain compliance

    departments, ostensibly to ensure that the banks comply with their AML, CTF, KYC and other

    due diligence obligations.

             246.    To fulfill those obligations, banks—including the Bank Defendants—now use

    sophisticated software to monitor accounts and transactions, including products marketed by third

    parties expressly to fulfill banks’ AML and CTF obligations.

             247.    The vendors of those products constantly enhance them in response to changes in

    the legal environment, revisions to sanctions and embargo lists, and other relevant factors, such

    as increased terrorist activity in particular regions or among particular groups.




                                                    -42-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 43 of 67 PageID #: 2073




            248.    Banks employ two primary types of software in connection with AML and CTF

    compliance: (a) programs that monitor transaction trends and patterns and thus highlight

    potentially anomalous or suspicious activity; and (b) filtering software that identifies potential

    matches to embargo and sanction lists by scanning fields such as the names of originators and

    beneficiaries. The latter type of software is used to identify potentially suspicious parties and

    counterparties to transactions (i.e., those that match to lists).

            249.    Banks, particularly those that operate in terrorism hot spots such as the Bank

    Defendants, recognize that there have been numerous lists of terrorists and terrorist organizations

    in force since 1990, including those promulgated by Treasury’s Office of Financial Assets Control

    (“OFAC”), the EU, the UN, and Israel.

            250.    International banks input these lists to their filtering software to maintain a

    consolidated filtering system for monitoring accounts and transactions. As these lists are updated,

    the new information is loaded into the software as well.

            251.    Bank compliance groups are responsible for researching and evaluating the

    transactions identified as suspicious by these systems. The compliance groups’ role is critical

    because software systems simply scan data that, due to transactional volumes, the complexity of

    account activity, and the increasingly extensive nature of embargo lists, cannot be analyzed

    manually.

            252.    The AML compliance function thus includes reviewing and researching the “hits”

    generated by compliance software, whether for anomalous activity or for identification of a name

    that matches one found on an embargo list (or both), and evaluating that information in light of

    the ongoing customer due diligence associated with the account in question.




                                                       -43-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 44 of 67 PageID #: 2074




            253.    The steps that banks’ compliance departments take in response to the hits

    generated by compliance software are therefore integral to banks’ ability to avoid providing

    material assistance to terrorists and other money launderers.

            254.    The compliance personnel must determine which hits are “false positives” that

    should not prevent the consummation of transactions and which involve a material risk of

    facilitating illicit behavior, including terrorist attacks. Regulations applicable in most countries,

    including the U.S., require banks to report the transactions they have identified as suspicious to

    government officials.

            255.    When bank policy or government regulations appear to prohibit the consummation

    of particular transactions, the involved funds are typically “blocked” in a segregated account, and

    the involved parties must usually receive government approval to release the funds after

    establishing the legitimacy of the blocked transaction.

            256.    FATF is an intergovernmental body created in 1989 by the G-7 countries (Canada,

    France, Germany, Italy, Japan, the United Kingdom, and the United States). Currently, its

    membership consists of 31 countries and territories.

            257.    FATF has published authoritative guidance designed to strengthen banks’ AML

     and CTF policies, particularly the influential Forty Recommendations on Money Laundering

     (along with interpretive notes) that FATF issued in 1990. The Forty Recommendations have

     been updated and revised since their initial publication.

            258.    In response to the September 11, 2001 attacks, FATF issued eight additional

    Special Recommendations specifically related to Terrorist Financing. A ninth recommendation

    was added in October 2004.




                                                     -44-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 45 of 67 PageID #: 2075




            259.    The FATF Forty Recommendations include a recommendation that banking

    authorities implement customer due diligence procedures (including identity verification) and

    record keeping and suspicious transactions reporting requirements for financial institutions and

    designated non-financial businesses and professions.

            260.    Expanding on that recommendation, FATF Recommendation Number Five states

    that banks should undertake customer due diligence measures designed to identify and verify the

    identity of their customers, when: (a) establishing business relations; (b) carrying out occasional

    transactions; (c) there is a suspicion of money laundering or terrorist financing; or (d) the bank

    has doubts about the veracity or adequacy of previously obtained customer identification data.

            261.    FATF’s Nine Special Recommendations include recommendations that banks:

    (a) freeze and confiscate terrorist assets; and (b) report suspicious transactions related to terrorism

    and money laundering to government authorities.

            262.    The Nine Special Recommendations also recognize the critical role that purported

    charities play in terrorist financing.

            263.    FATF recommended that countries should review the adequacy of laws and

     regulations governing non-profit organizations because those entities are particularly vulnerable to

     abuse in connection with the financing of terrorism, either intentionally or through terrorist

     organizations’ exploitation of unwitting participants.

            264.    The Basel Committee was formed in 1974 by the central bank governors of the G-

    10 countries.

            265.    The Basel Committee works by consensus to formulate broad supervisory

    standards and guidelines and to publish statements on a wide range of banking issues.




                                                     -45-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 46 of 67 PageID #: 2076




            266.       Three of the most important Basel Committee statements of banking standards

    concern AML issues.

            267.       Basel Committee statements are directed to national bank supervisory authorities

    beyond the organization’s core membership. By issuing those statements, the Basel Committee

    hopes to persuade banking supervisors to protect the integrity of the global banking system by

    implementing the Basel Committee standards and guidelines.

            268.       Because the Basel Committee guidelines are formulated as the result of a

    consensus building exercise by the G-10’s national bank regulators, they carry substantial weight

    within the banking industry. Therefore, Basel Committee guidelines are generally regarded as

    reflecting the minimum standards for individual banks with regard to AML and CTF policies.

            269.       In 1988, the Basel Committee issued its Statement on Prevention of Criminal Use

    of the Banking System for the Purpose of Money Laundering (the “Basel Statement on

    Prevention”).

            270.       The Basel Statement on Prevention outlines basic policies and procedures that

    bank management should ensure are in place within their institutions both domestically and

    internationally.

            271.       The Basel Statement on Prevention further recognizes that the most important

    safeguard against the use of financial institutions for purposes of money laundering is the integrity

    of banks’ management and their vigilant determination to prevent their institutions from becoming

    associated with criminals or being used as channels for money laundering.

            272.       The Basel Statement on Prevention sets forth four key principles: (a) banks should

    make reasonable efforts to determine the true identity of all customers requesting the institution’s

    services; (b) banks should ensure that business is conducted in conformity with high ethical




                                                      -46-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 47 of 67 PageID #: 2077




    standards and adheres to laws and regulations pertaining to financial transactions; (c) banks should

    cooperate fully with national law enforcement authorities to the extent permitted by local

    regulations relating to customer confidentiality and, where a bank has reason to suspect that funds

    on deposit are from criminal activity or that transactions entered into are for a criminal purpose,

    the bank should take appropriate measures, including denial of assistance, severing of the

    customer relationship, and closing or freezing the account; and (d) banks should adopt formal

    policies consistent with the Basel Statement on Prevention.

            273.    In 1997, the Basel Committee issued its Core Principles for Effective Banking

    Supervision (the “Core Principles”). Those principles were intended to provide a comprehensive

    blueprint for a safe and sound banking system.

            274.    The Basel Committee emphasized that the Core Principles are “minimum

    requirements” and are “intended to serve as a basic reference” in formulating an effective bank

    compliance environment.

            275.    Core Principle 15 deals with money laundering and reinforces the importance of

     KYC policies and procedures. It provides that banks must have adequate policies, practices and

     procedures in place, including strict KYC rules that promote high ethical and professional

     standards in the financial sector and that prevent banks from being used, intentionally or

     unintentionally, by criminal elements.

            276.    The Basel Committee also issued a further “Core Principles Methodology” in 1999

    that set forth widely accepted benchmarks for bank supervision.

            277.    The Core Principles Methodology was drafted to assist bank supervisors

    worldwide in self-assessments of the degree to which their banking systems, and the banks

    operating within them, had policies and practices consistent with the Core Principles.



                                                     -47-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 48 of 67 PageID #: 2078




            278.    The Core Principles Methodology contains a Principle-by-Principle discussion of

    “essential” and “additional” criteria. The section on Core Principle Methodology 15 contains

    eleven essential criteria and five additional criteria to help assess the adequacy of KYC policies

    and procedures.

            279.    The first additional criterion specifically references the FATF Forty

    Recommendations as reflecting “international sound practices.”

            280.    Among the essential criteria are: (a) banks must have in place policies and

    procedures to prevent them from being used, intentionally or unintentionally, by criminal

    elements; (b) banks must have clear and effective KYC policies and procedures, including

    effective recordkeeping and records retention for both customer identification and individual

    transactions; (c) banks must have formal procedures to recognize potentially suspicious

    transactions; (d) banks must have clear lines of authority and communication for implementation

    of their AML programs; and (e) banks must report suspicious activities to their regulators where

    they potentially may be material to the safety, soundness or reputation of the bank.

            281.    In 2001, the Basel Committee also issued standards governing minimum customer

    due diligence for banks (the “Customer Due Diligence Statement”).

            282.    The Customer Due Diligence Statement notes that customer due diligence

    involves developing customer risk-profiles, including consideration of factors such as a

    customer’s background, country of origin, public or high-profile position, linked accounts,

    business activities, use of wire transfers (particularly for international remittance of funds) and

    other risk indicators.

            283.    The Due Diligence Statement also clarifies that even basic KYC is not simply a

    function of account opening procedures. Rather, it remains an ongoing process.




                                                   -48-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 49 of 67 PageID #: 2079




           284.       The Due Diligence Statement also highlights the importance of ongoing

    monitoring of accounts and transactions as part of an effective AML program.

           285.       Specifically, the Due Diligence Statement provides, “Ongoing monitoring is an

    essential aspect of effective KYC procedures. There should be intensified monitoring for higher

    risk accounts.”

           286.       The Basel Committee’s 2012 Core Principles for Effective Banking Supervision

    (the “2012 Core Principles”) stressed the need for banks to “have adequate policies and processes

    that promote high ethical and professional standards and prevent the bank from being used,

    intentionally or unintentionally, for criminal activities.” Basel Committee on Banking

    Supervision, Core Principles for Effective Banking Supervision (September 2012),

    https://www.bis.org/publ/ bcbs230.pdf.

           287.       The 2012 Core Principles explained that the essential elements of “customer due

    diligence” standards include a policy identifying “business relationships that the bank will not

    accept based on identified risks,” an ongoing “customer identification, verification and due

    diligence” program, and policies and processes that require the bank to monitor “unusual or

    potentially suspicious transactions” and to apply enhanced scrutiny to high-risk accounts.

           288.       The Wolfsberg Group is an association of 13 global banks. In addition to its formal

    members, other significant global banks are recognized as being affiliated with Wolfsberg.

           289.       The Wolfsberg Group has published its own sets of methodologies in an effort to

    assist banks worldwide in complying with international AML standards. The banking community

    considers the guidance published by the Wolfsberg Group as representative of the views of the

    global banking community.




                                                      -49-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 50 of 67 PageID #: 2080




            290.      On October 30, 2000, the Wolfsberg Group published the Wolfsberg AML

    Principles.

            291.      The Wolfsberg AML Principles set forth guidelines regarding client acceptance,

    including the client identification and due diligence procedures banks should undertake when

    accepting a new client. The due diligence procedures require banks to ascertain the client’s

    reasons for opening the account, the source of its funds, and the client’s anticipated activity. Those

    procedures also specify steps that banks should employ to undertake risk-based customer due

    diligence.

            292.      The Wolfsberg AML Principles also set out practices for identifying unusual or

    suspicious transactions and for the on-going monitoring of account activity. In addition, the

    principles stress the need for a reporting and control system within the bank, staff education and

    training, and setting record retention requirements.

            293.      The Wolfsberg Group also designed a questionnaire intended to help banks

    develop internal policies and practices for KYC, AML and CTF policies.

            294.      This questionnaire provides an overview of a financial institution’s AML policies

    and practices and can help determine whether a financial institution is complying with industry

    best practices.

            295.      The questions relate to the following areas: (a) general AML policies, practices and

     procedures; (b) risk assessment; (c) KYC, due diligence and enhanced due diligence; (d) reportable

     transactions and prevention and detection of transactions with illegally obtained funds; (e)

     transaction monitoring; and (f) AML training.

            296.      The questions the Wolfsberg Group questionnaire sets forth include:


                  a. Does the Bank have record retention procedures that comply with applicable law?



                                                      -50-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 51 of 67 PageID #: 2081




                b. Are the Bank’s AML policies and practices being applied to all branches and

                    subsidiaries of the Bank, both in the home country and in locations outside of that

                    jurisdiction?


                c. Does the Bank have a risk-based assessment of its customer base and their

                    transactions?


                d. Does the Bank determine the appropriate level of enhanced due diligence

                    necessary for those categories of customers and transactions that the Bank has

                    reason to believe pose a heightened risk of illicit activities at or through the Bank?


                e. Does the Bank require the collection of information regarding its customers’

                    business activities?


                f. Does the Bank have policies or practices for the identification and reporting of

                    suspicious transactions?


                g. Does the Bank have a monitoring program for unusual and potentially suspicious

                    activity that covers funds transfers and monetary instruments, such as travelers’

                    checks, money orders, etc.?

           297.     The Wolfsberg Statement on the Suppression of Financing of Terrorism (the

    “Wolfsberg Terrorism Statement”) was published in January 2002.

           298.     The Wolfsberg Terrorism Statement reiterated and elaborated upon the existing

    international standards designed to prevent financial institutions from becoming entangled with

    terrorism and the financing of terrorist organizations and attacks.




                                                     -51-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 52 of 67 PageID #: 2082




            299.    The most critical components of the Wolfsberg Terrorism Statement include the

    following: (a) Paragraph four emphasizes the importance of KYC policies and procedures; (b)

    Paragraph five refers to high-risk sectors and activities and focuses on a financial institution’s

    application of enhanced and appropriate due diligence; and (c) Paragraph six addresses monitoring

    and how financial institutions should apply existing monitoring procedures to identify unusual or

    suspicious transactions because, although transactions may be unclear, monitoring and then

    identifying and reporting unusual or suspicious transactions may assist government agencies by

    linking seemingly unrelated activity to the financing of terrorism.

            300.    The Bank Defendants completely disregarded the international banking standards

    identified in paragraphs 227-313 in connection with the transactions that they conducted with

    Qatar Charity, Hamas terrorists and Hamas front organizations.

            301.    The violations of those standards that the Bank Defendants committed include, but

    are not limited to, the following:

            302.    The Bank Defendants provided banking services for Qatar Charity despite their

    knowledge that the charity was a leading contributor to Hamas.

            303.    QNB directly provided banking services to known Hamas terrorists and opened

    accounts for those individuals without performing the minimum KYC and due diligence

    procedures required by international banking standards, including verifying the addresses of those

    individuals and checking them against the available databases of known terrorists.

            304.    QNB failed to monitor the transactions undertaken by these Hamas terrorists to

    promote Hamas’s illicit activities, to report those transactions to authorities in Qatar and abroad,

    and to block the terrorists’ funds before they could be transferred to the intended beneficiaries;




                                                    -52-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 53 of 67 PageID #: 2083




            305.    The Bank Defendants failed to develop a suitable risk profile for Qatar Charity

    and to subject its transactions to enhanced due diligence despite the significant money-laundering

    and terrorism-financing risks presented by Qatar Charity’s activities as a purported charity

    affiliated with terrorist organizations and their sponsors, the concentration of Qatar Charity’s

    contributions in terrorism hot spots like the Palestinian Territories and other Middle Eastern areas

    prone to terrorist conduct, Qatar Charity’s history of donations to purported charities affiliated

    with Hamas and other terrorist organizations, and the unusual and substantial nature of the wire

    transfers that Qatar Charity made;

            306.    The Bank Defendants subordinated their AML and CTF obligations to the desire

    of their largest shareholders, the members of the Qatari Royal Family and the entities they control,

    to fund Hamas and other terrorist groups;

            307.    The Bank Defendants failed to adopt and/or apply a risk-based analysis for

    assessing whether (i) to provide banking services to Qatar Charity, Hamas operatives, and Hamas

    front organizations, (ii) to continue to process transactions for those accountholders and

    beneficiaries, and (iii) to maintain accounts for those accountholders;

            308.    The Bank Defendants failed to consider the risks associated with providing

    banking services to Qatar Charity—particularly its supposed status as a charitable entity operating

    in Middle Eastern locations prone to terrorism—or to design appropriate measures for

    counteracting those risks and thereby preventing money laundering and terrorism financing;

            309.    The Bank Defendants failed to consider the risks of money laundering and

    terrorism financing presented by the Sanabel Card scheme, particularly whether those debit cards

    could be used by terrorist front organizations to distribute funds directly to terrorists and to their

    family members as an incentive to commit terrorist acts, to compensate them for carrying out




                                                     -53-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 54 of 67 PageID #: 2084




    terrorist activities, or to offset the personal costs (including loss of income resulting from injury

    or imprisonment) associated with terrorist activity;

             310.   The Bank Defendants ignored their obligation to detect and block transactions with

    people and organizations included on terrorist and money laundering sanctions and embargo lists

    propounded by the E.U., the U.N., the U.S., Israel, and other nations;

             311.   The Bank Defendants failed to undertake any research to determine the terrorist

    affiliations of their account holders and the beneficiaries of transfers made from the account

    holders’ accounts despite the suspicious nature of those transactions and the availability of

    information corroborating the terrorist ties of the account holders and the transfer beneficiaries on

    the Internet, databases such as Lexis/Nexis, and specialized software widely used by international

    banks;

             312.   The Bank Defendants either ignored the feedback provided by their AML and CTF

    software regarding transactions involving account holders or transferees tied to terrorism or money

    laundering, or failed to update that software to prevent the banks from participating in those

    transactions; and

             313.   The Bank Defendants ignored the well-accepted guidance for international

    banking provided by, among other standards, FATF’s Forty Recommendations on Money

    Laundering, FATF’s Special Recommendations specifically related to terrorist financing, the

    Basel Statement on Prevention, the Basel Committee’s Core Principles for Effective Banking

    Supervision, the Basel Committee’s Core Principles Methodology, the Basel Committee’s

    Customer Due Diligence Statement, the Basel Committee’s 2012 Core Principles, the Wolfsberg

    AML Principles, the Wolfsberg AML questionnaire, and the Wolfsberg Terrorism Statement.




                                                    -54-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 55 of 67 PageID #: 2085




            314.    Despite these AML and CTF failings, Masraf Al Rayan endeavored to create the

    appearance that it was complying with Qatari CTF law, the bank’s internal policies barring terror

    financing, and the foregoing international CTF and AML principles.

            315.    For example, in its 2018 Annual Report, Masraf Al Rayan touted its role “in

    complying with the anti-money laundering and counter-terrorism financing within the local,

    regional and international system; in addition to its responsibility towards the society and the

    environment in which it operates.”

            316.    The Annual Report further stated that the bank maintained a risk management

    system to keep its Board apprised of the bank’s “internal control work and results,” including the

    bank’s “Anti-Money Laundering and Counter Terrorism Financing” policies and procedures.

            317.    The Annual Report also emphasized that Masraf Al Rayan employed a “bank

    transfers monitoring system to ensure that there are no names that appear in the banned lists or

    those related to anti-money laundering and counter terrorism financing; and integrate[s] this

    system with the SWIFT system to intercept any suspicious names at the same time when the

    transactions are taking place.”

            318.    Given the notorious nature of Qatar Charity’s sponsorship of Hamas, including its

    designation by Israel in 2008 as a member of the Treasury-designated Union of Good, the due

    diligence steps Masraf Al Rayan’s policies and procedures required the bank to undertake would

    have revealed the critical role that Qatar Charity played in financing and promoting Hamas

    terrorism.

            319.    Thus, Masraf Al Rayan could have utilized the AML and CTF policies and

    procedures that it described to prevent the financing of Hamas terrorism, had the bank actually

    wanted to eliminate that illicit conduct.




                                                   -55-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 56 of 67 PageID #: 2086




            320.    Despite overwhelming public evidence that Qatar Charity actively raised money

    to support Hamas and other global terrorist organizations, Masraf Al Rayan continued to provide

    banking services to Qatar Charity.

            321.    Indeed, Masraf Al Rayan knowingly transferred millions of dollars of Qatar

    Charity funds into local bank branches operating in Hamas territory despite the bank’s actual

    knowledge that Qatar Charity (1) was a known sponsor of Hamas and (2) was operating illegally

    in the Palestinian Territories.


            THE TERRORIST ATTACKS THAT INJURED THE PLAINTIFFS AND
                        KILLED THEIR FAMILY MEMBER


            322.    Pursuant to the unlawful conspiracy that Plaintiffs allege, Defendants and their co-

    conspirators provided material support and resources to Hamas that allowed that notorious

    terrorist organization to carry out the terror attacks that injured Plaintiffs and killed their family

    members.

            323.    On September 16, 2018, Ari Fuld, an American citizen, was stabbed and killed in

    the Gush Etzion Junction in Israel, which is located adjacent to a community where Israelis and

    Americans reside, work, shop and live.

            324.    On that day, Fuld was attacked by the Hamas terrorist Khalil Yusef Ali Jabarin

    while Fuld was standing outside the popular Rami Levy supermarket at the Gush Etzion Junction.

    Jabarin stabbed Fuld multiple times in the upper back and neck with an 8-inch knife.

            325.    After Fuld was stabbed, he pursued, shot, and wounded Jabarin, who was then

    chasing a shop employee. Although Jabarin never reached the shop employee, Fuld, who was

    transported to the hospital, subsequently died from his injuries.




                                                     -56-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 57 of 67 PageID #: 2087




            326.     Jabarin specifically targeted an English speaker for his attack. Before the attack

    against Fuld, Jabarin twice asked a worker in a local falafel shop whether she or others in the

    restaurant spoke English.

            327.     Jabarin was arrested, indicted, and convicted for the murder of Ari Fuld and the

    attempted murder of three others.

            328.     Hamas has acknowledged its responsibility for the Fuld murder. A few hours after

    the murder, Hamas praised the attack.

            329.     Hamas also took responsibility for the attack by releasing a video on the Al-

    Qassam Brigades’ official website. In the video, an Al-Qassam Brigades spokesman shows

    photographs of Jabarin and a video of him fleeing the scene of the attack. The video also includes

    captions proclaiming that Hamas’s jihadist soldiers will continue their presence in the West Bank

    and will not leave.


                                           CAUSES OF ACTION

                                        FIRST CAUSE OF ACTION

            AIDING AND ABETTING FOREIGN TERRORIST ORGANIZATIONS IN
              VIOLATION OF 18 U.S.C. § 2333(d) AGAINST ALL DEFENDANTS

            330.     Plaintiffs repeat and reallege each and every allegation of the foregoing paragraphs

    as if fully set forth herein.

            331.     Plaintiffs assert this cause of action against all Defendants under 18 U.S.C.

     § 2333(d) and the Justice Against Sponsors of Terrorism Act (“JASTA”) § 2b.

            332.     Plaintiffs are nationals of the United States or the estates, survivors or heirs of U.S.

    nationals.




                                                       -57-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 58 of 67 PageID #: 2088




            333.    Hamas was a foreign terrorist organization (“FTO”) when it committed, planned,

    and authorized the terrorist attacks that injured the Plaintiffs and killed their family members.

            334.    Those terrorist attacks were acts of international terrorism, as defined by 18 U.S.C.

    § 2331. The attacks: (a) involved violence and endangered human life; (b) would have violated

    federal and state criminal law, had they been committed in the United States; (c) appeared to be

    intended to intimidate or coerce the civilian populations of Israel and the United States, to

    influence the policies of the Israeli and American governments, and to affect the policies of those

    governments through violent action; and (d) occurred primarily outside the United States and

    transcended national boundaries in that Hamas raised money internationally, intended to impact

    the citizens and governments of Israel and the United States, operated internationally and sought

    asylum in multiple countries in the Middle East.

            335.    Defendants knowingly provided substantial assistance to those acts of

    international terrorism.

            336.    The substantial assistance that Defendants knowingly provided to Hamas

    included: (a) transferring significant sums of money to Hamas, its operatives and its front

    organizations; (b) maintaining bank accounts for the benefit of Hamas, its front organizations, and

    its senior operatives; (c) providing Hamas with access to U.S. dollars and the U.S. banking system;

    (d) providing seeming legitimacy to Hamas’s efforts to raise funds to finance its operations and to

    compensate terrorists and their family members following terrorist attacks; and

     (e) enabling Hamas to convert funds nominally intended to support humanitarian causes into

     the resources necessary to commit terrorist attacks.




                                                    -58-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 59 of 67 PageID #: 2089




             337.   Defendants’ services and support provided encouragement to would-be terrorists

    and incentivized their future attacks, including the attacks that killed and injured Plaintiffs and

    their family members.

             338.   At the time Defendants provided that substantial assistance to Hamas, Defendants

    knew that: (a) the U.S. government had designated Hamas as a terrorist organization; (b) Hamas

    and its operatives engaged in terrorism, including the attacks alleged herein; and (c) the financial

    assistance that Defendants were providing to Hamas was essential to its ability to carry out terrorist

    attacks, including the attacks that killed and injured Plaintiffs and their family members.

             339.   Defendants also intended that their substantial assistance would facilitate the

    ability of Hamas to carry out its terrorist attacks against Plaintiffs, their family members, and other

    civilians. As a result, Defendants recognized that they played an integral role in Hamas’s terrorist

    activities.

             340.   The assistance that Defendants provided to Hamas was a substantial factor in

    causing Plaintiffs’ injuries. Moreover, Plaintiffs’ injuries were a foreseeable result of that

    substantial assistance.

             341.   As a direct and proximate result of the substantial, knowing assistance that

    Defendants provided to Hamas, Plaintiffs have suffered significant physical, psychological and

    emotional injuries.

             342.   Defendants knowingly aided and abetted Hamas within the meaning of 18 U.S.C.

     § 2333(d), which Congress enacted to provide “civil litigants with the broadest possible basis” for

     relief against those “that have provided material support, directly or indirectly, to foreign

     organizations or persons that engage in terrorist activities against the United States.” See JASTA,

     § 2b.




                                                     -59-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 60 of 67 PageID #: 2090




            343.    Defendants are therefore liable to Plaintiffs for damages in an amount to be

    determined at trial, treble damages, and the payment of the attorneys’ fees and expenses incurred

    by Plaintiffs in connection with this action.


                               SECOND CAUSE OF ACTION
                 VIOLATION OF THE ANTI-TERRORISM ACT, 18 U.S.C. § 2333(d)
                   AGAINST ALL DEFENDANTS (CONSPIRACY LIABILITY)

            344.    Plaintiffs repeat and re-allege each and every allegation of the foregoing

    paragraphs as if fully set forth herein.

            345.    Plaintiffs assert this cause of action against all Defendants under 18 U.S.C.

     § 2333(d) and JASTA § 2b.

            346.    Plaintiffs are nationals of the United States or the estates, survivors or heirs of U.S.

    nationals.

            347.    Defendants conspired with each other, Hamas, the government of Qatar and others

    to bring about acts of international terrorism against Americans in Israel.

            348.    Defendant Qatar Charity joined the conspiracy by agreeing, among other things,

    expressly or tacitly to raise funds for Hamas although the U.S. government had designated Hamas

    as an FTO, and other nations, including Israel, had deemed Hamas a terrorist organization. Qatar

    Charity further agreed to distribute those funds on behalf of Hamas. By engaging in that conduct,

    Qatar Charity furthered the goals of the conspiracy.

            349.    Defendant Masraf Al Rayan joined the conspiracy by agreeing, among other

     things, expressly or tacitly: (a) to allow Qatar Charity to use accounts at Masraf Al Rayan to

     funnel money to and fund Hamas; (b) to allow other Islamic groups linked to Hamas, including

     Interpal, to maintain accounts at the bank that were used to funnel money to Hamas; and (c) to

     give Qatar Charity and Hamas access to U.S. dollars through Masraf Al Rayan’s correspondent


                                                      -60-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 61 of 67 PageID #: 2091




     banking relationships in the U.S. By engaging in that conduct, Masraf Al Rayan furthered the

     goals of Defendants’ conspiracy.

            350.      Defendant QNB joined the conspiracy by agreeing, among other things, expressly

    or tacitly: (a) to provide banking services to Hamas leadership headquartered in Doha; (b) to

    provide banking services to its co-conspirator, Qatar Charity; and (c) to employ and provide

    banking services to the chair of the Union of Good, a U.S.-designated SDGT and a fundraising

    front for Hamas.

            351.      The close relationships among Defendants and the Qatari government, including

    the Qatari royal family, connected the two banks to the conspiracy.

            352.      Defendant Masraf Al Rayan knew that it facilitated acts of terrorism and

    Defendants’ conspiracy by allowing a notorious designated financer of terrorism like Qatar

    Charity to maintain accounts at the bank and by disregarding suspicious transactions involving

    those accounts.

            353.      Defendant QNB knew that it facilitated acts of terrorism and Defendants’

    conspiracy by providing services to notorious Hamas terrorists who were released in a prisoner

    exchange from their terrorism-related prison sentences in Israel to the safe haven of Qatar, where

    they continued to run Hamas.

            354.      The Bank Defendants knew that the government of Qatar and members of the

    Qatari royal family, who had leadership positions at both banks, openly supported Hamas by

    financing its operations and providing a safe haven to Hamas’s leadership.

            355.      The Bank Defendants knew that, by allowing Qatar Charity to use accounts at the

    banks to funnel money to Hamas, the banks were joining a conspiracy intended to commit acts of

    international terrorism, including the murder of Americans in Israel.




                                                    -61-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 62 of 67 PageID #: 2092




            356.    As a direct and proximate result of the Defendants’ conspiracy and the steps they

    knowingly took in furtherance thereof, Plaintiffs have suffered significant physical, psychological

    and emotional injuries.

            357.    Defendants are therefore liable to Plaintiffs for damages in an amount to be

    determined at trial, treble damages, and the payment of the attorneys’ fees and expenses incurred

    by Plaintiffs in connection with this action.


                                 THIRD CAUSE OF ACTION
            PROVIDING MATERIAL SUPPORT TO TERRORISTS IN VIOLATION
              OF 18 U.S.C. §§ 2339A AND 2333(a) AGAINST ALL DEFENDANTS

            358.    Plaintiffs repeat and re-allege each and every allegation of the foregoing

    paragraphs as if fully set forth herein.

            359.    Plaintiffs assert this claim against all Defendants for violations of 18 U.S.C.

     §§ 2333(a) and 2339A.

            360.    Plaintiffs are nationals of the United States or the estates, survivors or heirs of U.S.

    nationals.

            361.    The financial assistance that Defendants provided to Hamas constituted material

    support of that terrorist organization and facilitated Hamas’s efforts to engage in acts of

    international terrorism, including the attacks that killed and injured Plaintiffs and their family

    members.

            362.    Defendants provided that material assistance to Hamas knowing or intending that

    Hamas would use that material assistance to prepare for or carry out terrorist attacks, including

    the attacks that killed and injured Plaintiffs and their family members.




                                                      -62-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 63 of 67 PageID #: 2093




            363.     Defendants provided that material assistance to Hamas in furtherance of the

    conspiracy to facilitate the acts of terrorism that Hamas perpetrated, including the attacks that

    killed and injured Plaintiffs and their family members.

            364.     The material assistance that Defendants provided to Hamas constituted activities

    dangerous to human life that violated 18 U.S.C. § 2339A and that were either unlawful under state

    law, including New York Penal Law §§ 490.10 and 490.15, or would have been unlawful under

    that state law if committed in the United States.

            365.     The material assistance that Defendants provided to Hamas was dangerous to

    human life because that assistance enabled Hamas to finance its violent attacks and recruit

    individuals to carry out those attacks. The financial assistance that Defendants provided to Hamas

    also enabled it to expand its purported charitable activities, and thereby attract additional donors

    and recruits for its terrorist operations.

            366.     The actual and apparent intention of the material assistance that Defendants

    provided to Hamas was: (a) to intimidate or coerce the civilian populations of Israel and the United

    States; (ii) to influence the policies of Israel and the United States by means of intimidation and

    coercion; or (iii) to affect the conduct of the governments of Israel and the United States by mass

    destruction, assassination, or kidnapping.

            367.     The substantial financial assistance that Defendants provided to Hamas occurred

    primarily outside the United States and transcended national boundaries in that Defendants

    operated internationally in providing financial assistance to Hamas.

            368.     As a result, Defendants committed acts of international terrorism, as defined by 18

    U.S.C. § 2331.




                                                     -63-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 64 of 67 PageID #: 2094




             369.   Hamas did rely upon the financial assistance and material support provided by

    Defendants in carrying out its terrorist activities.

             370.   Hamas engaged in acts of physical violence outside of the United States with the

    intent to kill or to cause serious bodily injuries to Plaintiffs, nationals of the United States. Hamas

    engaged in that illicit conduct pursuant to a joint plan and conspiracy with Defendants and others.

             371.   Hamas’s acts of violence caused the injuries that Plaintiffs suffered and the deaths

    of Plaintiffs’ family members.

             372.   The material support and substantial assistance that Defendants provided to

    Hamas was a substantial factor in causing Plaintiffs’ injuries. Moreover, Plaintiffs’ injuries were

    a foreseeable result of the material support and substantial assistance that Defendants provided to

    Hamas.

             373.   As a direct and proximate result of the material support and substantial assistance

    that Defendants knowingly provided to Hamas, Plaintiffs have suffered significant physical,

    psychological and emotional injuries.

             374.   Defendants are therefore liable to Plaintiffs for damages in an amount to be

    determined at trial, treble damages, and the payment of the attorneys’ fees and expenses incurred

    by Plaintiffs in connection with this action.


                              FOURTH CAUSE OF ACTION
                PROVIDING MATERIAL SUPPORT TO FOREIGN TERRORIST
               ORGANIZATIONS IN VIOLATION OF 18 U.S.C. §§ 2339B(a)(1) AND
                          2333(a) AGAINST ALL DEFENDANTS

             375.   Plaintiffs repeat and re-allege each and every allegation of the foregoing

    paragraphs as if fully set forth herein.




                                                      -64-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 65 of 67 PageID #: 2095




             376.   Plaintiffs assert this claim against all Defendants for violation of 18 U.S.C.

     §§ 2333(a) and 2339B(a)(1).

             377.   Plaintiffs are nationals of the United States or the estates, survivors or heirs of U.S.

    nationals.

             378.   At the time of the attack that injured Plaintiffs, Hamas was an FTO.

             379.   At that time, Defendants knew that Hamas was an FTO, that it engaged in terrorist

    activity (as defined in 8 U.S.C. § 1182(a)(3)(B)), and that it engaged in terrorism (as defined in 22

    U.S.C. § 2656f(d)(2)).

             380.   As Plaintiffs allege in detail above, Defendants provided material support to

    Hamas.

             381.   That material support was integral to the ability of Hamas to carry out its terrorist

    attacks, including the attacks that injured Plaintiffs and killed their family members.

             382.   As Plaintiffs allege in detail above, the material support that Defendants provided

    to Hamas constituted acts of international terrorism, as defined in 28 U.S.C. § 2331(1).

             383.   The material support that Defendants provided to Hamas was a substantial and

    foreseeable factor in causing Plaintiffs’ injuries.

             384.   Moreover, Plaintiffs’ injuries were a foreseeable result of the material support and

    substantial assistance that Defendants provided to Hamas.

             385.   As a direct and proximate result of the material support and substantial assistance

    that Defendants knowingly provided to Hamas, Plaintiffs have suffered significant physical,

    psychological and emotional injuries.




                                                      -65-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 66 of 67 PageID #: 2096




            386.    Defendants are therefore liable to Plaintiffs for damages in an amount to be

    determined at trial, treble damages, and the payment of the attorneys’ fees and expenses incurred

    by Plaintiffs in connection with this action.


                                         PRAYER FOR RELIEF

            WHEREFORE, Plaintiffs pray that this Court:

            (a)     Accept jurisdiction over this action;

            (b)     Enter judgment against Defendants jointly and severally and in favor of Plaintiffs

                    for compensatory damages in amounts to be determined at trial, and pre-judgment

                    interest thereon;

            (c)     Enter judgment against Defendants jointly and severally and in favor of Plaintiffs

                    for treble damages pursuant to 18 U.S.C. § 2333(a), and pre-judgment interest

                    thereon;

            (d)     Enter judgment against Defendants jointly and severally and in favor of Plaintiffs

                    for any and all costs sustained in connection with the prosecution of this action,

                    including attorneys’ fees, pursuant to 18 U.S.C. § 2333(a), and pre-judgment

                    interest thereon; and

            (e)     Grant such other and further relief as justice requires.

            PLAINTIFFS DEMAND A TRIAL BY JURY ON ALL ISSUES SO TRIABLE.




                                                     -66-
Case 1:21-cv-05716-AMD-VMS Document 94-1 Filed 05/24/23 Page 67 of 67 PageID #: 2097



    Dated: May 24, 2023
           Brooklyn, New York
                                       Respectfully submitted,

                                       THE BERKMAN LAW OFFICE, LLC
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                                        -67-
